Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 1 of 130 PageID #: 598




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

ORCA SECURITY LTD.,                                  )
                                                     )
                         Plaintiff,                  )
                                                     )
             v.                                      )    C.A. No. 23-758 (GBW)
                                                     )
WIZ, INC.,                                           )    DEMAND FOR JURY TRIAL
                                                     )
                         Defendant.                  )

            SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
                 INTRODUCTION AND SUMMARY OF THE ACTION

       1.         Plaintiff Orca Security Ltd. (“Orca”) brings this action against Wiz, Inc. (“Wiz”) to

put an end to Wiz’s flagrant, ongoing, and unauthorized use of Orca’s patented technologies.

       2.         Wiz has built its business on a simple business plan: copy Orca. This copying is

replete throughout Wiz’s business and has manifest in myriad ways. In its marketing, Wiz copies

Orca’s imagery, its message, and even the coffee it uses at trade shows. In prosecuting patents,

Wiz recruited away Orca’s former patent attorney to copy Orca’s intellectual property and even

the figures from Orca’s patents. And, most importantly for this action, in its products and services,

Wiz has embedded a number of revolutionary inventions developed and patented by Orca, passed

those inventions off falsely as Wiz innovations, and forced Orca to compete against its own

technological breakthroughs in the marketplace. Wiz’s conduct in this regard is illegal, unjust,

and in violation of the United States patent laws. Orca thus brings this Second Amended

Complaint to redress Wiz’s willful and deliberate infringement of Orca’s patents.

                                                * * *
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 2 of 130 PageID #: 599




       3.      Modern cloud computing launched in 2006, and quickly evolved from an emerging

fad to the predominant technology employed across the globe. By 2018, nearly half of all

companies claimed that 31% to 60% of their IT systems were cloud-based. 1

       4.      With this widespread and rapid adoption came inevitable security threats that, if

left unchecked, could threaten the industry. What made the cloud so attractive—the ability to

quickly spin-up or tear-down assets on demand and expand at an unprecedented pace—also made

cloud computing environments exceptionally challenging to protect.

       5.      Before Orca, stale security approaches and conventional wisdom from legacy

technologies were employed. Those entrenched in the field adapted traditional security tools

designed for on-premise physical computers to the cloud environment, either checking all traffic

going in or going out (network security) or attempting to install agents within each virtual asset

within the system (endpoint security). Those tools—effective for discrete numbers of physical

machines or services—were woefully inadequate to protect cloud-computing environments with

enormous and dynamically changing numbers of virtual assets.             This led to multiplying

vulnerabilities and tremendous uncertainty in that large organizations had little insight into which

services operate in their environment, who owns those services, who is obligated to maintain them,

and what risks attend them.

       6.      Enter Avi Shua, an Israeli-born cybersecurity technologist with a life-long

fascination with ways to protect—or break into—computer systems. Even as a teen, Mr. Shua led

corporate IT security for his high school. Mr. Shua then spent 10 years in the Israel Defense Forces

as part of Unit 8200, an elite division of the Israel Intelligence Corps responsible for collecting

signal intelligence and code decryption, counterintelligence, cyberwarfare, military intelligence,


1
       https://www.comptia.org/content/research/2018-trends-in-cloud-computing


                                                 2
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 3 of 130 PageID #: 600




and surveillance. Following his military service, Mr. Shua joined Check Point Software, an early

pioneer in the computer security industry. Mr. Shua quickly rose through the ranks during his

decade at Check Point, ultimately serving as its Chief Technologist for four years.

       7.      After leaving Check Point, Mr. Shua turned his sights toward addressing the many

shortcomings he had observed in cloud computing security. Among other things, Mr. Shua

realized that the transient nature of workloads in a virtual environment made it effectively

impossible for traditional endpoint and network security to continuously map onto those

workloads. The result was a whack-a-mole approach that looked to secure workloads by adjusting

endpoint security dynamically as vulnerabilities arose. This approach resulted in long periods with

no security visibility, gaping holes in protection, and prohibitive costs to implement.

       8.      Dissatisfied, Mr. Shua looked to develop a new platform that could provide

frictionless and comprehensive security coverage to a constantly evolving cloud environment. He

realized that there was a better way—a more effective choke point—for analyzing cloud security

within a virtual environment: the virtualization itself held the answer. In general terms, Mr. Shua

conceived of a revolutionary approach that analyzed virtual cloud assets using read-only access

with no impact on performance, and without deploying agents or network scanners. The result

was vastly improved visibility into a cloud environment, deeper and better results, and improved

speed. Mr. Shua’s innovations also enabled the integration of data into unified data models, to

view cloud security threats in a context that was not possible before, and so to prioritize risks that

endanger the organization’s most critical assets.

       9.      Mr. Shua and his co-founders founded Orca in 2019 to create a cloud security tool

that brought Mr. Shua’s inventions to market. The company took off like a rocket ship: the year

after it was founded, Orca Security achieved more than 1,000% year-over-year growth. As noted




                                                    3
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 4 of 130 PageID #: 601




by customers, this success was due to the genius of Orca’s Platform. As one customer noted,

“Orca Security is unique in that it locates vulnerabilities with precision and delivers tangible,

actionable results—without having to sift through all of the noise.” 2 And another customer echoed

the sentiment, stating: “Orca is unique in that it doesn’t require the installation of cumbersome

agents. This reduces integration costs, and eliminates the question we had always asked ourselves,

‘are agents installed on all resources?’”3

       10.     In the four years since its founding, Orca has raised substantial investment funds

and grown from fewer than a dozen to more than 400 employees today. Orca has been recognized

as one of the most innovative companies in cloud security and, in 2022, was the recipient of

Amazon Web Services Global Security Partner of the Year Award. 4 The U.S. Patent Office has

awarded Orca several patents for Mr. Shua’s inventions, including U.S. Patent Nos. 11,663,031

(the “’031 patent”), 11,663,032 (the “’032 patent”), 11,693,685 (the “’685 patent”), 11,726,809

(the “’809 patent”), 11,740,926 (the “’926 patent”), and 11,775,326 (the “’326 patent”), among

others. Less than a month after the first of these patents issued on August 22, 2022, Orca

announced to the public and its competitors that it had “secured a patent for its agentless

SideScanning™ technology, providing visibility and risk coverage across the entire cloud estate.” 5




2
       https://web.archive.org/web/20200930194127/https://orca.security/ (Aaron Brown, Senior
Cloud Security Engineer, Sisense).
3
        https://web.archive.org/web/20200930194127/https://orca.security/ (Jonathan Jaffe, Head
of Information Security, Legal Counsel, people.ai).
4
       https://finance.yahoo.com/news/orca-security-awarded-2022-regional-010000110.html
5
       https://orca.security/resources/press-releases/orca-security-innovation-patent-grant-
sidescanning-technology/ (announcement dated November 10, 2022, and providing direct link to
Orca’s U.S. Patent No. 11,431,735 (https://patents.google.com/patent/US11431735)).


                                                4
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 5 of 130 PageID #: 602




Prior to issuance, Orca’s marketing materials and publications dating back to June 2019 explained

that the Orca Platform used a “patent-pending SideScanning™ technology.” 6

       11.     Orca’s products, including the Orca Platform, and certain of Orca’s services,

practice the ’031, ’032, ’685, ’809, ’926, and ’326 patents, among others. In accordance with

35 U.S.C. § 287(a), Orca virtually marks its products and maintains a webpage identifying a listing

of patents applicable to those products. See https://orca.security/virtual-patent-marking/.

       12.     Now, Orca is threatened because the Defendant, Wiz, Inc., has taken Orca’s

revolutionary inventions and created a copycat cloud security platform, improperly trading off of

Orca’s inventions, including those claimed in the ’031, ’032, ’685, ’809, ’926, and ’326 patents,

without authorization.

                    WIZ AND ITS WIDESPREAD COPYING OF ORCA

       13.     Wiz was founded in January 2020 by Assaf Rappaport, Ami Luttwak, Yinon

Costica, and Roy Reznik, a team that previously led the Cloud Security Group at Microsoft, one

of the top providers of cloud computing environments in the world. 7 According to those founders,

it was their time at Microsoft that provided them the “insight” that current cloud security tools



6
        https://orca.security/resources/blog/orca-security-lands-6-5m-seed-round-to-deliver-it-
security-teams-unprecedented-full-stack-cloud-visibility-securing-high-velocity-cloud-growth/
(announcement dated June 12, 2019, “Patent-pending SideScanning™ technology deploys
instantaneously without the impact and complexity of per-asset agents”); Exhibit 3 (Orca
SideScanning Technical Brief (2020)) at 5 (“Orca Security uses our patent-pending
SideScanning™ technology.”), 15 (“Delivered as SaaS, Orca Security’s patent-pending
SideScanning™ technology reads your cloud configuration and workloads’ run-time block storage
out-of-band. It detects vulnerabilities, malware, misconfigurations, lateral movement risk, weak
and leaked passwords, and high-risk data such as PII.”).
7
        https://www.darkreading.com/cloud/former-microsoft-cloud-security-leads-unveil-new-
startup; https://www.forbes.com/sites/davidjeans/2020/12/09/wiz-sequoia-index-cybersecurity-
100-million-former-microsoft-executives/?sh=4414df63254c (“At Microsoft, Rappaport says he
became increasingly aware of a growing problem for large companies: managing cloud security
threats was a fragmented process, with security teams becoming overwhelmed by alerts.”).


                                                 5
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 6 of 130 PageID #: 603




were too complicated, fragmented, and generate too many alerts. 8 Wiz was thus founded to “build

a platform that lets teams scan their environments across compute types and cloud services for

vulnerabilities and configuration, network, and identity issues without agents”; i.e., to do exactly

what Orca had already been doing for over a year. 9

          14.    This was not a coincidence or a simultaneous stroke of genius. On the contrary,

Wiz was birthed from the very beginning as a counterfeit copy of Orca’s ideas—Mr. Shua had

presented Orca’s Platform to Wiz’s founders at Microsoft in May 2019, and the so-called “insight”

of which Wiz boasts was nothing more than the misappropriation of Mr. Shua’s ideas and Orca’s

technology as presented to Wiz’s founders before they formed Wiz and sought to launch a copycat

competitor to Orca. It was at this 2019 meeting that Mr. Shua explained how cloud security would

forever be changed by his novel agentless cloud security platform as implemented in Orca’s cloud-

native security platform. Within months, the Wiz founders left their lucrative careers at Microsoft

to start Wiz, build a clone of Orca’s technology, and compete directly with Orca.

          15.    Because of the massive head start it received from Orca and Mr. Shua, it took Wiz

just months from the time the company was founded before it had a fully functioning “cloud

visibility solution for enterprises that provides a complete view of security risks across clouds,

workloads and containers” that was “already used by Fortune 100 companies.” 10 In August 2022,

Wiz announced it had become the “fastest-growing software company ever” reaching “$100M




8
          https://www.darkreading.com/cloud/former-microsoft-cloud-security-leads-unveil-new-
startup
9
          Id.
10
          https://www.securityweek.com/cloud-security-firm-wiz-emerges-stealth-100m-funding/


                                                 6
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 7 of 130 PageID #: 604




ARR [annual recurring revenue] in 18 months.” 11 And just eight months later in February 2023,

Wiz raised $300 million and achieved a company valuation of $10 billion. 12

        16.    Wiz’s wholesale copying of Orca’s technology has been observed by third party

industry analysts. For example, SOURCEFORGE’s comparison of Orca and Wiz lists identical

“Cloud Security Features” for each platform:




https://sourceforge.net/software/compare/Orca-Security-vs-Wiz/.




11
       https://www.wiz.io/blog/100m-arr-in-18-months-wiz-becomes-the-fastest-growing-
software-company-ever
12
        https://techcrunch.com/2023/02/27/cloud-security-startup-wiz-now-valued-at-10b-raises-
300m/


                                               7
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 8 of 130 PageID #: 605




        17.   SOURCEFORGE also notes that Wiz has the same “Cybersecurity Features” as

Orca:




Id.

        18.   SOURCEFORGE further shows that Wiz has the same “Vulnerability Management

Features” as Orca:




                                           8
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 9 of 130 PageID #: 606




Id.

        19.     Through all of its copying, Wiz has attributed none of its technology to Orca. In

fact, Wiz has done the opposite. Wiz has claimed it was the “first cloud visibility solution” 13 and

the “first full stack multi-cloud security platform.” 14 But even its “full stack” descriptor was copied

from Orca. It was Orca that first announced its “Unprecedented Full Stack Cloud Visibility”

platform in June 2019, months before Wiz was even founded. 15 As another more recent example,


13
       https://web.archive.org/web/20210128014251/https://wiz.io/
14
       https://web.archive.org/web/20210422201202/https://www.wiz.io/product
15
        https://orca.security/resources/blog/orca-security-lands-6-5m-seed-round-to-deliver-it-
security-teams-unprecedented-full-stack-cloud-visibility-securing-high-velocity-cloud-growth/


                                                   9
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 10 of 130 PageID #: 607




Wiz announced in June 2022 that it had a “new vision for cloud security” with the “introduction

of attack path analysis.”16 But Wiz’s “attack path analysis” was not new, and it wasn’t Wiz’s

vision. It was Mr. Shua’s from just two months earlier. On March 31, 2022, Mr. Shua blogged

about Orca’s new “Cloud Attack Path Analysis” dashboard, which Wiz copied. 17

       20.     Wiz’s copying of Orca did not stop with the technology, but pervades Wiz’s

business as a whole. For example, Orca realized early on that its cloud-native approach could be

analogized to a medical MRI, providing a full model of the cloud environment without affecting

it in any way. Early Orca marketing materials noted: “An apt analogy is to think of a medical

MRI. Instead of probing inside the body with needles and scalpels, such imaging is an out-of-

band method of obtaining a detailed picture of the organs and tissue within. The person is never

physically touched.” Exhibit 3 (Orca SideScanning Technical Brief (2020)) at 5. Wiz copied this

message: “Instead of using an intrusive agent, Wiz leverages cloud-native tools to perform scans

without interrupting or impacting production workloads. Just like an MRI performs a 3D scan of

the body without affecting the body itself, snapshot scanning achieves deep analysis of the

workload without any impact or interruption to the live workload.” Exhibit 4 (Wiz “Agentless

Scanning” (Jan. 19, 2022)). And Wiz knew, or should have known, that the technology Orca

analogized to an “MRI” that Wiz copied would be protected by Orca’s patent portfolio. Exhibit 3

(Orca SideScanning Technical Brief (2020)) at 5 (“Orca Security uses our patent-pending

SideScanning™ technology . . . [a]n apt analogy is to think of a medical MRI.”).

       21.     As another example, Orca promoted its technology as assuming the “heavy lifting”

of contextualizing detected security threats and prioritizing those that matter most. Exhibit 3 at 15



16
       https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-for-cloud-security
17
       https://orca.security/resources/blog/cloud-attack-path-analysis/


                                                 10
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 11 of 130 PageID #: 608




(“Context is critical; it’s the difference between effective security and dreaded analyst alert fatigue.

Orca assumes responsibility for the heavy lifting associated with this additional context and

assesses the real and effective risk. Orca’s mission is to provide the best contextualized security

intelligence possible.”). Wiz copied this too beginning with its very first website in 2020: “We do

the heavy lifting, you get total visibility.”18

        22.     Wiz even copied the more mundane aspects of Orca’s marketing. For example, at

a multi-day security conference in London, Orca decided that it would break away from typical

technology booths and instead sponsor a coffee booth. Wiz attended the same conference. On the

first day, Wiz sponsored a typical technology booth. The following day, Wiz showed up with its

own coffee machine. Just like Orca.

        23.     Wiz also has knowingly copied Orca’s patents, its prosecution strategy, and even

its prosecuting attorney. Orca’s first patent applications were filed and prosecuted by a lawyer at

a small boutique firm with less than 10 attorneys, with whom Mr. Shua worked directly and

confidentially. That engagement was terminated in 2021 when Orca learned that Wiz had engaged

the same lawyer to file patents for Wiz on overlapping technology. Wiz’s patent applications now

include figures and descriptions that are nearly identical to those found in Orca’s ’031 and ’032

patents:




18
        https://web.archive.org/web/20201209145922/http://www.wiz.io/.


                                                  11
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 12 of 130 PageID #: 609




                        Orca                                               Wiz




 ’032 patent at Fig 3, 8:7-23; ’031 patent at Fig. 3,

 9:15-31.                                               Wiz’s U.S. Patent No. 11,374,982 at Fig. 6,

                                                        20:61-21:12.


       24.     Again, this was no coincidence. On information and belief, Wiz knew that the

lawyer it hired had prosecuted Orca’s patent applications and hired him to assist Wiz in its attempts

to pass off Orca’s technology and intellectual property.

       25.     In furtherance of its scheme to copy Orca, Wiz also recruited Orca’s outside

corporate counsel to work for Wiz. That lawyer attended Orca’s Board of Director meetings and,

as a result, was exposed to Orca’s highly confidential technology and business plans. Orca

replaced its outside corporate counsel in November 2020 after it learned that Wiz had engaged the


                                                 12
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 13 of 130 PageID #: 610




very same lawyer as its own corporate counsel. On information and belief, Wiz knew that the

lawyer it hired was Orca’s outside corporate counsel and Wiz hired him to assist Wiz in its attempts

to copy Orca.

       26.      Beyond the foregoing examples, on information and belief, Wiz has hired former

Orca employees and worked with third parties to acquire Orca’s confidential information relating

to current and future product plans, marketing, sales, prospective customers, and prospective

employees, and has used that confidential information in furtherance of its collective pattern of

efforts to copy and to compete unfairly with Orca.

       27.      Certain examples provided above may be explainable as an individual occurrence.

But viewed collectively, they demonstrate a pattern of copying that pervades Wiz’s business as a

whole. This pattern leads to the further conclusion, on information and belief, that Wiz monitors

virtually every aspect of Orca’s business, from the mundane aspects of how it presents itself at

conferences, to its marketing, and Orca’s fundamental technology and patent portfolio. Wiz would

have had reason to, and, on information and belief, does monitor Orca’s patent portfolio because

Orca’s website and marketing materials—including those Wiz copies—explained the Orca

Platform used “patent-pending” and “patented” technology. See Paragraphs 10-11, 20 above.19

Wiz then copies, with intentional and/or reckless disregard for Orca’s rights, anything it deems

would give it an unfair advantage.




19
         See also, e.g., https://orca.security/platform/ (“The Orca Cloud-Native Application
Protection Platform (CNAPP) is built on Orca’s patented SideScanning technology”);
https://orca.security/platform/agentless-sidescanning/ (“Our patented SideScanning™ technology
is at the heart of the Orca Platform . . .”); https://orca.security/platform/vulnerability-management/
(“Orca’s patented SideScanning™ technology is a radical new approach that addresses the
shortcomings of traditional vulnerability assessment and agent-based cloud security solutions.”).


                                                 13
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 14 of 130 PageID #: 611




        28.     Wiz’s continuous pattern of copying indicates, on information and belief, that Wiz

had knowledge of the ’031 patent, the ’032 patent, the ’685 patent, the ’809 patent, the ’926 patent,

and the ’326 patent at or around the time that each patent issued, with knowledge or reckless

disregard that its actions constituted infringement thereto.

        29.     This action seeks to put an end to, and obtain relief for, this pattern of copying and

Wiz’s willful infringement of the ’031 patent, the ’032 patent, the ’685 patent, the ’809 patent, the

’926 patent, and the ’326 patent (collectively, the “Asserted Patents”).

                                          THE PARTIES

        30.     Plaintiff Orca Security Ltd. is an Israeli company with a principal place of business

at 3 Tushia St., Tel Aviv, Israel 6721803.

        31.     On information and belief, Defendant Wiz, Inc. is a Delaware company with a

principal place of business at One Manhattan West, 57th Floor, New York, New York.20

                                  JURISDICTION AND VENUE

        32.     This action arises under the patent laws of the United States, 35 U.S.C. § 1 et seq.

This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

        33.     This Court has personal jurisdiction over Wiz because Wiz is subject to general and

specific jurisdiction in the state of Delaware. Wiz is subject to personal jurisdiction at least

because Wiz is a Delaware corporation and resides in this District. Wiz has made certain minimum

contacts with Delaware such that the maintenance of this suit does not offend traditional notions

of fair play and substantial justice.




20
        https://www.wiz.io/contact (Locations)


                                                 14
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 15 of 130 PageID #: 612




        34.    The exercise of personal jurisdiction comports with Wiz’s right to due process

because, as described above, Wiz has purposefully availed itself of the privilege of Delaware

corporate laws such that it should reasonably anticipate being haled into court here.

        35.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 and 1400(b) at least

because Wiz is incorporated in the State of Delaware and is subject to personal jurisdiction in this

District.

                                      COUNT I
                          (INFRINGEMENT OF THE ’031 PATENT)

        36.    Orca incorporates all other allegations in this Second Amended Complaint.

        37.    The ’031 patent is entitled “Techniques for Securing Virtual Cloud Assets at Rest

Against Cyber Threats” and was duly and legally issued on May 30, 2023. A true and correct copy

of the ’031 patent is attached hereto as Exhibit 1.

        38.    Orca is the owner of all rights, title, and interest in the ’031 patent.

        39.    The ’031 patent is valid and enforceable.

        40.    The inventions claimed in the ’031 patent improved on prior art cloud security

systems and methods by, inter alia, taking at least one snapshot or requesting taking of at least one

snapshot of a virtual machine at rest, and analyzing the at least one snapshot to detect

vulnerabilities. See, e.g., ’031 patent at cls. 1-16. This snapshot-based analysis for inactive assets

was not well understood, routine, or conventional. It is an inventive concept that allows virtual

assets in a cloud computing platform to be analyzed and scanned for embedded vulnerabilities, at

a time when the machine is inactive, because, among other things, the analysis does not require

any interaction and/or information from a running virtual asset like agent-based solutions. By

analyzing virtual cloud assets at rest, the ’031 patent provides greater context for detected

vulnerabilities and more comprehensive security for a cloud computing platform, including



                                                  15
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 16 of 130 PageID #: 613




protecting against assets that may have become unsafe after they were turned off due to newly

disclosed vulnerabilities or infrastructure changes.

       (a)     Direct Infringement of the ’031 Patent

       41.     Wiz, without authorization, directly infringes one or more claims of the ’031 patent,

literally and/or under the doctrine of equivalents. Wiz infringes under 35 U.S.C. § 271 including,

without limitation, 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing

within the United States without authority, Wiz’s CSP and/or other similar products or services,

which include (or are otherwise referred to) but are not limited to Wiz’s Cloud Native Application

Protection Platform (“CNAPP”), Cloud Security Posture Management (“CSPM”), Cloud

Infrastructure Entitlement Management (“CIEM”), Data Security Posture Management

(“DSPM”), Infrastructure-as-code (“IaC”) scanning (https://www.wiz.io/solutions/iac), and Cloud

Detection and Response (“CDR”) platforms and/or features. See https://www.wiz.io/ (listing

CNAPP, CSPM, CIEM, DSPM, IaC scanning, and CDR as “Product[s]”); see also

https://www.wiz.io/product (same). Wiz’s infringement includes infringement of, for example,

claim 9 of the ’031 patent.

       42.     Claim 9 of the ’031 patent recites:

               9.      A computer-implemented method for inspecting data, the method

       comprising:

                       establishing an interface between a client environment and security

               components;

                       using the interface to utilize cloud computing platform APIs to identify

               virtual disks of a virtual machine in the client environment;

                       using the computing platform APIs to query a location of at least one of the

               identified virtual disks;


                                                 16
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 17 of 130 PageID #: 614




                       receiving an identification of the location of the virtual disks of the virtual

               machine;

                       emulating the virtual disks for the virtual machine;

                       performing at least one of: (i) taking at least one snapshot, and (ii)

               requesting taking at least one snapshot of the virtual machine at rest, wherein the at

               least one snapshot represents a copy of the virtual disks of the virtual machine at a

               point in time;

                       analyzing the at least one snapshot to detect vulnerabilities, wherein during

               the detection of the vulnerabilities by analyzing the at least one snapshot, the virtual

               machine is inactive; and

                       reporting the detected vulnerabilities as alerts.

       43.     On information and belief, Wiz practices each and every limitation of claim 9 of

the ’031 patent by and through the use of Wiz’s CSP and/or other similar products or services for

Wiz’s clients or customers.

       44.     The preamble of claim 9 recites “[a] computer-implemented method for inspecting

data, the method comprising. . . .” To the extent the preamble is limiting, Wiz practices this step

by, for example, using its computer-implemented CSP to inspect data in clients’ cloud computing

environments, including inactive assets. See, e.g., https://www.wiz.io/solutions/cnapp (“Wiz

leverages unique technology to scan PaaS resources, Virtual Machines, Containers, Serverless

Functions, . . . to identify the risks in each layer”); https://www.wiz.io/blog/detect-and-prioritize-

cisa-known-exploited-vulnerabilities-kev-with-wiz (“Detect and prioritize CISA Known

Exploited Vulnerabilities in the cloud with Wiz”).




                                                 17
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 18 of 130 PageID #: 615




          45.   Claim 9 further recites “establishing an interface between a client environment and

security components . . . .” Wiz’s public presentations and technical documentation confirm that

Wiz practices this step by, for example, using Wiz’s CSP to perform “[a]gentless scanning via

API” provided by AWS, GCP, and Azure, among other cloud computing environments.




See Exhibit 5 (AWS re:Invent – Context is Everything: Join the CNAPP Revolution to Secure

Your AWS Deployments) at 13; Exhibit 6 (Wiz Cloud Security Platform Datasheet) (supported

cloud computing platforms include AWS, Azure, and Google Cloud Platform (GCP)); Exhibit 11

(“Wiz connects to your cloud environment via your cloud service provider’s APIs in order to

extract           metadata           and             perform          snapshot            scans.”);

https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics            (same);      Exhibit     12      (same);

https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

deployment, continuously assess workloads without deploying agents”).




                                                18
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 19 of 130 PageID #: 616




       46.     Claim 9 further recites “using the interface to utilize cloud computing platform

APIs to identify virtual disks of a virtual machine in the client environment . . . .” Wiz practices

this step by, for example, using Wiz’s CSP to provide “[f]ull visibility” of virtual cloud assets in

a client environment using an API provided by AWS, GCP, and Azure, among other cloud

computing environments.




See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

Google Cloud Platform (GCP)). Through the API, Wiz creates a graph of a client environment

“with full context on the resource[s],” which includes identifying virtual disks of virtual machines.

See     https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-for-cloud-security;

Exhibit 6 at 3 (“Wiz uses the full context of your cloud and combines this information into a single

graph in order to correlate related issues”), 4 (Wiz “takes a snapshot of each VM system volume

and analyzes its operating system, application layer, and data layer statically with no performance

impact.”).




                                                 19
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 20 of 130 PageID #: 617




        47.     Claim 9 further recites “using the computing platform APIs to query a location of

at least one of the identified virtual disks . . . .” Wiz performs this step by, for example, using

computing platform APIs to perform a query to locate virtual disks and other resources. See

Exhibit 5 at 13 (“Agentless scanning via API”); https://www.wiz.io/blog/detect-and-prioritize-

cisa-known-exploited-vulnerabilities-kev-with-wiz (“You can query and locate all the VMs,

containers, and serverless functions in your cloud environment that are vulnerable to a specific

CVE in the catalog with a simple query shortcut.”); https://www.wiz.io/solutions/cnapp (“Scan

buckets, data volumes, and databases and quickly classify the data to track wh[ere] data is

located.”); Exhibit 13 (“[C]heck out our guide for optimizing your Security Graph queries.”).

        48.     Claim 9 further recites “receiving an identification of the location of the virtual

disks of the virtual machine . . . .” Wiz practices this step by, for example, identifying virtual disks

and other resources it locates when it performs a query. See https://www.wiz.io/blog/detect-and-

prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz (“You can query and locate all the

VMs, containers, and serverless functions in your cloud environment that are vulnerable to a

specific CVE in the catalog with a simple query shortcut.”). As another example, Wiz uses Wiz’s

CSP to create a graph showing the locations of virtual cloud assets, including virtual machines and

virtual disks, within a client environment. See Exhibit 6 at 3 (Wiz “uses the full context of your

cloud and combines this information into a single graph in order to correlate related issues”); see

also Exhibit 5 at 13 (“Full visibility in minutes . . . without agents”).

        49.     Claim 9 further recites “emulating the virtual disks for the virtual machine . . . .”

On information and belief, Wiz practices this step by, for example, using Wiz’s CSP to scan “all

of [a customer’s] workloads even if a resource isn’t online” because an offline resource’s virtual

disks will need to be emulated before scanning.




                                                  20
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 21 of 130 PageID #: 618




https://www.wiz.io/partners/gcp. Wiz’s website also promotes its platform as using agentless

“snapshot” scanning. See https://www.wiz.io/solutions/cnapp (“Wiz deployment leverages a

single cloud role to scan your entire cloud environment: PaaS, Virtual Machines, Containers,

Serverless      functions,       Buckets,       Data        volumes        and   Databases.”);

https://www.wiz.io/solutions/vulnerability-management. As Wiz’s blog posts explain, “volume

snapshot approach” where snapshots are scanned “out of band, do not rely on the cloud

environment’s compute resources to run.” https://www.wiz.io/blog/agents-are-not-enough-why-

cloud-security-needs-agentless-deep-scanning. Accordingly, on information and belief, Wiz uses

its own separate compute resources to emulate virtual disks that it analyzes.




                                                21
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 22 of 130 PageID #: 619




https://www.wiz.io/solutions/vulnerability-management.

       50.     Claim 9 further recites “performing at least one of: (i) taking at least one snapshot,

and (ii) requesting taking at least one snapshot of the virtual machine at rest, wherein the at least

one snapshot represents a copy of the virtual disks of the virtual machine at a point in time . . . .”

Wiz performs this step by, for example, taking a snapshot of a virtual disk in order to “analyze[]

[the] operating system, application layer, and data layer” of virtual machines in a client

environment. See Exhibit 6 at 4, 3 (Wiz “[s]cans the workloads inside the container to determine

. . . its vulnerabilities”); see also Exhibit 5 at 27. Wiz’s technical documentation explains that

“Wiz connects to [a] cloud environment via [a] cloud service provider’s APIs in order to extract

metadata        and         perform         snapshot        scans.”                Exhibit        11;

https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics (same); Exhibit 12 (same). On information

and belief, Wiz also requests taking a snapshot of virtual disks on a virtual machine when it is


                                                 22
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 23 of 130 PageID #: 620




offline. https://www.wiz.io/partners/gcp (“Wiz uses a unique technology to scan deep within VMs

and containers without needing an agent, analyzing all of your workloads even if a resource isn’t

online.”).

       51.     Claim 9 further recites “analyzing the at least one snapshot to detect vulnerabilities,

wherein during the detection of the vulnerabilities by analyzing the at least one snapshot, the virtual

machine is inactive . . . .” Wiz performs this step by, for example, analyzing the snapshot of a

virtual disk to determine cyber vulnerabilities affecting the virtual disk. For example, Wiz

analyzes the snapshot of a virtual disk to identify potential vulnerabilities.




https://www.wiz.io/solutions/vulnerability-management.

       52.     As another example, Wiz “analyzes [the] operating system, application layer, and

data layer” of virtual machines to provide full visibility into vulnerabilities across the cloud

computing environment. See Exhibit 6 at 4 (Wiz “[s]cans the workloads inside the container to

determine . . . its vulnerabilities”); https://www.wiz.io/blog/uniting-builders-and-defenders-a-

new-vision-for-cloud-security (“[D]efenders can now analyze activities and review timelines

within the graph, with full context on the resource, roles, vulnerabilities, and potential impact.”).

Furthermore, Wiz analyzes snapshots of machines that are not online and/or “before deployment

to the runtime environment.” See, e.g., https://www.wiz.io/partners/gcp (“Wiz uses a unique

technology to scan deep within VMs and containers without needing an agent, analyzing all of

your workloads even if a resource isn’t online.”); https://www.wiz.io/solutions/vulnerability-

management; https://www.wiz.io/solutions/iac (“scan images continuously before deployment”).




                                                  23
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 24 of 130 PageID #: 621




       53.     Claim 9 further recites “reporting the detected vulnerabilities as alerts.” Wiz

performs this step by, for example, reporting vulnerabilities in a client environment as alerts in

Wiz’s CSP.




https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz

(“CISA Known Exploited Vulnerability Catalog CVEs dashboard in Wiz”); see also Exhibit 6 at 3

(“Scan for vulnerable and unpatched operating systems, installed software, and code libraries in

your workloads prioritized by risk.”). Wiz reports a “graph” to show “toxic combinations that

create attack paths in [a] cloud.”




                                               24
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 25 of 130 PageID #: 622




See, e.g., https://www.wiz.io/solutions/cnapp;           https://www.wiz.io/blog/uniting-builders-and-

defenders-a-new-vision-for-cloud-security (“[D]efenders can now analyze activities and review

timelines within the graph, with full context on the resource, roles, vulnerabilities, and potential

impact.”); Exhibit 6 at 3 (“Wiz uses the full context of your cloud and combines this information

into        a   single      graph       in     order         to     correlate    related     issues”);

https://www.wiz.io/solutions/vulnerability-management (“Use the Threat Center to immediately

identify workload exposure to the latest vulnerabilities sourced from Wiz Research along with

numerous third-party threat intelligence feeds.”).

       54.      As described in the preceding paragraphs, Wiz infringes claim 9 of the ’031 patent,

either literally or under the doctrine of equivalents.

       55.      The above examples of how Wiz directly infringes claim 9 of the ’031 patent are

non-limiting and based on information currently available to Orca. In particular, additional or

different aspects of Wiz’s products or services may be identified that meet the limitations of claim

9 of the ’031 patent, additional claims of the ’031 patent may be determined to be infringed, and

additional Wiz products or services may be identified as infringing once additional nonpublic

information is provided through the course of discovery.

       (b)      Induced Infringement of the ’031 Patent

       56.      On information and belief, in providing Wiz’s CSP to its customers, Wiz has

induced, and continues to induce, direct infringement of one or more claims of the ’031 patent,

including at least claim 9, literally and/or under the doctrine of equivalents pursuant to 35 U.S.C.

§ 271(b).

       57.      On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’031 patent and its infringement thereof when the ’031 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed


                                                  25
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 26 of 130 PageID #: 623




above in Paragraphs 13-29. For example, Wiz by and through its patent prosecution counsel had

knowledge of the ’031 patent’s parent application, U.S. Patent Application No. 16/750,556, and

its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’031 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. In any event, Wiz has

had knowledge of the ’031 patent and its infringement thereof since at least as early as the filing

of the Original Complaint on July 12, 2023.

       58.     On information and belief, Wiz possesses a specific intent to induce infringement

by, at a minimum, providing user guides, instructions, sales-related material, and/or other

supporting documentation, and by way of advertising, solicitation, and provision of product

instruction materials, that instruct its customers on the normal operation of Wiz’s CSP in a manner

that infringes one or more claims of the ’031 patent, including at least claim 9 of the ’031 patent,

or Wiz believed there was a high probability that the acts of its customers would infringe one or

more claims of the ’031 patent, including at least claim 9, and took deliberate steps to avoid

learning of that infringement.

       59.     Wiz’s specific intent to induce infringement is also demonstrated by its actions

since the filing of the Original Complaint on July 12, 2023. As of October 10, 2023, despite the

disclosure of its infringement in the Original Complaint, Wiz still maintains many of the same

pages on its website instructing its customers and potential customers on how the Wiz CSP can be

used to infringe the ’031 Patent that were identified in the Original Complaint.          See, e.g.,

https://www.wiz.io/solutions/iac (last accessed Oct. 10, 2023); https://www.wiz.io (last accessed




                                                26
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 27 of 130 PageID #: 624




Oct.    10,        2023);       https://www.wiz.io/product        (last      accessed      Oct.     10,     2023);

https://www.wiz.io/solutions/cnapp (last accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-

and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz (last accessed Oct. 10, 2023);

https://www.wiz.io/solutions/vulnerability-management                (last     accessed      Oct.   10,     2023);

https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-for-cloud-security                        (last

accessed           Oct.          10,        2023);       https://legacy.wiz.io/partners/google               (now

https://www.wiz.io/partners/gcp (last accessed Oct. 10, 2023)); https://www.wiz.io/blog/agents-

are-not-enough-why-cloud-security-needs-agentless-deep-scanning (last accessed Oct. 10, 2023).

        60.        In addition, after the filing of the Original Complaint, Wiz posted a video on

August 11, 2023, specifically instructing users how Wiz “does agentless vulnerability scanning

across every layer of your cloud environment including virtual machines,” “detects”

vulnerabilities, “generates a vulnerability finding” for each detected vulnerability, and how a

customer is presented “with a prioritized list of issues related to vulnerabilities” in a manner

intended      to     infringe     at   least    claim    9   of      the      ’031      patent.      See,     e.g.,

https://www.youtube.com/watch?v=GP0NWZa_7vk (“Wiz for Vulnerability Management

Demo”         (Aug.       11,      2023))      (last    accessed      Oct.       10,      2023);     see      also

https://www.youtube.com/watch?v=a8l9zIQUoVI (“Wiz for CSPM Demo” (Aug. 11, 2023)) (last

accessed Oct. 10, 2023).

        61.        In further addition, after the filing of the Amended Complaint, Wiz published an

article on September 28, 2023 specifically instructing users how Wiz “can help organizations to

identify, prioritize, and remediate vulnerabilities across their cloud environments quickly and

effectively with the following capabilities,” including through “[a]gentless scanning,”

“[c]ontinuous scanning,” “[d]eep contextual assessments,” and “[r]isk-based prioritization” in a




                                                        27
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 28 of 130 PageID #: 625




manner intended to infringe at least claim 9 of the ’031 patent.                           See, e.g.,

https://www.wiz.io/academy/vulnerability-management-best-practices (Sept. 28, 2023) (last

accessed Oct. 10, 2023); see also https://www.wiz.io/academy/cloud-security-best-practices

(Sept. 20, 2023) (last accessed Oct. 10, 2023).

       (c)     Contributory Infringement of the ’031 Patent

       62.     On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’031 patent and its infringement thereof when the ’031 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. For example, Wiz by and through its patent prosecution counsel had

knowledge of the ’031 patent’s parent application, U.S. Patent Application No. 16/750,556, and

its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’031 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. In any event, Wiz has

had knowledge of the ’031 patent and its infringement thereof since at least as early as the filing

of the Original Complaint on July 12, 2023.

       63.     On information and belief, by providing Wiz’s CSP to its customers, Wiz has in the

past contributed, and continues to contribute, to the direct infringement of one or more claims of

the ’031 patent, literally and/or under the doctrine of equivalents, in violation of 35 U.S.C.

§ 271(c), including at least claim 9 of the ’031 patent. Wiz has contributorily infringed and

continues to contribute to the infringement of one or more claims of the ’031 patent by offering to

sell or selling Wiz’s CSP, which is a patented component, constituting a material part of the




                                                  28
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 29 of 130 PageID #: 626




invention, knowing the same to be especially made or especially adapted for use in an infringement

and not a staple article or commodity of commerce suitable for substantial non-infringing use.

       64.     Wiz’s CSP, or any further component parts thereof, is not a staple article of

commerce and has no substantial non-infringing use. On information and belief, Wiz’s CSP

cannot operate without incorporating technology claimed by the claims of the ’031 patent.

Specifically, as described above, Wiz’s user guides, instructions, sales-related material, and/or

other supporting documentation state that Wiz’s CSP is intended to be used to perform agentless

scanning of virtual assets, including a virtual machine at rest, in a client environment through

snapshot scanning, detect vulnerabilities, and report detected vulnerabilities as alerts, as claimed

in the claims of the ’031 patent. See, e.g., Exhibit 4 at 1-2, 10-11; Exhibit 5 at 11-23; Exhibit 6.

Its documentation does not advertise or otherwise suggest that Wiz’s CSP is a staple article of

commerce or has a substantial non-infringing use.          See generally Exhibit 5; Exhibit 6.

Furthermore, when used as shown in Wiz’s documentation, Wiz’s CSP directly infringes claims

of the ’031 patent as described above in Paragraphs 41-55.

       65.     On information and belief, Wiz has continued to contributorily infringe in the same

way as set forth in the preceding paragraphs since the filing of the Original Complaint on July 12,

2023. As of October 10, 2023, despite the disclosure of its infringement in the Original Complaint,

Wiz still maintains many of the same pages on its website that were identified in the Original

Complaint and are referenced herein. See, e.g., https://www.wiz.io/solutions/iac (last accessed

Oct. 10, 2023); https://www.wiz.io (last accessed Oct. 10, 2023); https://www.wiz.io/product (last

accessed Oct. 10, 2023); https://www.wiz.io/solutions/cnapp (last accessed Oct. 10, 2023);

https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz

(last accessed Oct. 10, 2023); https://www.wiz.io/solutions/vulnerability-management (last




                                                29
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 30 of 130 PageID #: 627




accessed Oct. 10, 2023); https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-

for-cloud-security (last accessed Oct. 10, 2023); https://legacy.wiz.io/partners/google (now

https://www.wiz.io/partners/gcp (last accessed Oct. 10, 2023)); https://www.wiz.io/blog/agents-

are-not-enough-why-cloud-security-needs-agentless-deep-scanning (last accessed Oct. 10, 2023).

       (d)     Willful Infringement of the ’031 Patent

       66.     On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’031 patent and its infringement thereof when the ’031 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. For example, Wiz by and through its patent prosecution counsel had

knowledge of the ’031 patent’s parent application, U.S. Patent Application No. 16/750,556, and

its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’031 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. In any event, Wiz has

had knowledge of the ’031 patent and its infringement thereof since at least as early as the filing

of the Original Complaint on July 12, 2023.

       67.     Wiz’s intentional and deliberate infringement is also demonstrated by its actions

since the filing of the Original Complaint on July 12, 2023, which show a continuing willful,

deliberate, and consciously wrongful intent to infringe the ’031 patent. As of October 10, 2023,

despite the disclosure of its infringement in the Original Complaint, Wiz still maintains many of

the same pages on its website identified in the Original Complaint describing Wiz’s infringement

of the ’031 patent. See, e.g., Original Complaint ¶¶ 38-52; https://www.wiz.io/solutions/iac (last

accessed     Oct.   10,    2023);    https://www.wiz.io      (last   accessed    Oct.    10,    2023);


                                                  30
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 31 of 130 PageID #: 628




https://www.wiz.io/product (last accessed Oct. 10, 2023); https://www.wiz.io/solutions/cnapp

(last accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-and-prioritize-cisa-known-

exploited-vulnerabilities-kev-with-wiz        (last        accessed       Oct.       10,         2023);

https://www.wiz.io/solutions/vulnerability-management         (last   accessed   Oct.      10,   2023);

https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-for-cloud-security             (last

accessed       Oct.      10,      2023);              https://legacy.wiz.io/partners/google       (now

https://www.wiz.io/partners/gcp (last accessed Oct. 10, 2023)); https://www.wiz.io/blog/agents-

are-not-enough-why-cloud-security-needs-agentless-deep-scanning (last accessed Oct. 10, 2023).

       68.     Wiz also posted a video on August 11, 2023, describing how Wiz continues to use

its Wiz CSP to do “agentless vulnerability scanning across every layer of your cloud environment

including virtual machines,” “detects” vulnerabilities, “generates a vulnerability finding” for each

detected vulnerability, and presenting “a prioritized list of issues related to vulnerabilities” in a

manner that demonstrates a conscious disregard for Orca’s rights in the inventions claimed in the

’031 patent.       See, e.g., https://www.youtube.com/watch?v=GP0NWZa_7vk (“Wiz for

Vulnerability Management Demo” (Aug. 11, 2023)) (last accessed Oct. 10, 2023); see also

https://www.youtube.com/watch?v=a8l9zIQUoVI (“Wiz for CSPM Demo” (Aug. 11, 2023)) (last

accessed Oct. 10, 2023).

       69.     Wiz also published an article on September 28, 2023, describing how Wiz

continues to use its Wiz CSP to “identify, prioritize, and remediate vulnerabilities across their

cloud environments quickly and effectively with the following capabilities,” including through

“[a]gentless scanning,” “[c]ontinuous scanning,” “[d]eep contextual assessments,” and “[r]isk-

based prioritization” in a manner intended to infringe at least claim 9 of the ’031 patent. See, e.g.,

https://www.wiz.io/academy/vulnerability-management-best-practices (Sept. 28, 2023) (last




                                                 31
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 32 of 130 PageID #: 629




accessed Oct. 10, 2023); see also https://www.wiz.io/academy/cloud-security-best-practices

(Sept. 20, 2023) (last accessed Oct. 10, 2023).

       70.      Wiz’s infringement has been and continues to be intentional and deliberate,

entitling Orca to enhanced damages under 35 U.S.C. § 284 and a finding that this case is

exceptional, entitling Orca to an award of reasonable attorneys’ fees under 35 U.S.C. § 285.

       71.      On information and belief, Wiz has profited from and will continue to profit from

its infringing activities. Orca has been and will continue to be damaged and irreparably harmed

by Wiz’s infringing activities. As a result, Orca is entitled to injunctive relief and damages

adequate to compensate it for such infringement, in no event less than a reasonable royalty, in

accordance with 35 U.S.C. §§ 271, 281, 283, and 284. The amount of monetary damages Wiz’s

acts of infringement have caused to Orca cannot be determined without an accounting.

       72.      The harm to Orca from Wiz’s ongoing infringing activity is irreparable, continuing,

and not fully compensable by money damages, and will continue unless Wiz’s infringing activities

are enjoined.

                                     COUNT II
                          (INFRINGEMENT OF THE ’032 PATENT)

       73.      Orca incorporates all other allegations in this Second Amended Complaint.

       74.      The ’032 patent is entitled “Techniques for Securing Virtual Machines by

Application Use Analysis,” and was duly and legally issued on May 30, 2023. A true and correct

copy of the ’032 patent is attached hereto as Exhibit 2.

       75.      Orca is the current owner of all rights, title, and interest in the ’032 patent.

       76.      The ’032 patent is valid and enforceable.

       77.      The inventions claimed in the ’032 patent improve on prior art systems by, inter

alia, accessing the snapshot of at least one virtual disk of a protected virtual cloud asset, analyzing



                                                   32
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 33 of 130 PageID #: 630




the snapshot of the at least one virtual disk by matching installed applications with applications on

a known list of vulnerable applications, and determining, based on the matching, an existence of

potential cyber vulnerabilities of the protected virtual cloud asset. See, e.g., ’032 patent at cls. 1-

25. This novel analysis of snapshots for potential cyber vulnerabilities was not well understood,

routine, or conventional.      It is an inventive concept that allows, for example, practical

implementations of vulnerability detection for virtual cloud assets in large data centers because it

does not require the cumbersome installation of agents. This reduces the costs of licensing,

deployment, integration, training, and support for a cloud security platform.           Additionally,

analyzing snapshots as provided in the claims of the ’032 patent achieved unconventional

performance, including (1) the ability to scan virtual cloud assets across an entire cloud

environment in a matter of minutes compared to months-long installations of agent-based

solutions, and (2) achieving comprehensive coverage and features that are not possible using

agent-based approaches due to the tradeoff between performance and impact to the environment.

       78.     The claims of the ’032 patent also recite inventive concepts for prioritizing potential

cyber vulnerabilities based on use determinations and reporting prioritized alerts according to the

use determinations.     See, e.g., id.   Prioritizing based on use determinations was not well

understood, routine, or conventional, and improves on prior art techniques by putting potential

cyber vulnerabilities in context. The novel limitations of the ’032 patent invention, including

analyzing snapshots and prioritizing potential cyber vulnerabilities based on use determinations,

improve the implementation of a security system for cloud environments because the gathered

information can be analyzed to produce actionable, context-based alerts and reports without

relying on agents or network scanners.




                                                  33
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 34 of 130 PageID #: 631




       (a)     Direct Infringement of the ’032 Patent

       79.     Wiz, without authorization, directly infringes one or more claims of the ’032 patent,

literally and/or under the doctrine of equivalents. Wiz infringes under 35 U.S.C. § 271 including,

without limitation, 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing

within the United States without authority, Wiz’s CSP and other similar products or services,

which includes (or is otherwise referred to) but is not limited to Wiz’s CNAPP, CSPM, CIEM,

DSPM, IaC scanning, and CDR platforms and/or features. See https://www.wiz.io/; see also

https://www.wiz.io/product. Wiz’s infringement includes infringement of, for example, claim 1

of the ’032 patent.

       80.     Claim 1 of the ’032 patent recites:

               A method for securing virtual cloud assets against cyber vulnerabilities in a cloud

       computing environment, the method comprising:

                       determining, using an API or service provided by the cloud computing

               environment, a location of a snapshot of at least one virtual disk of a protected

               virtual cloud asset, wherein the protected virtual cloud asset is instantiated in the

               cloud computing environment;

                       accessing, based on the determined location and using an API or service

               provided by the cloud computing environment, the snapshot of the at least one

               virtual disk;

                       analyzing the snapshot of the at least one virtual disk by matching installed

               applications with applications on a known list of vulnerable applications;

                       determining, based on the matching, an existence of potential cyber

               vulnerabilities of the protected virtual cloud asset;




                                                 34
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 35 of 130 PageID #: 632




                      determining whether the matching installed applications are used by the

               protected virtual cloud asset;

                      prioritizing the potential cyber vulnerabilities based on the use

               determinations; and

                      reporting the determined potential cyber vulnerabilities, as prioritized alerts

               according to the use determinations.

       81.     On information and belief, Wiz practices each and every limitation of claim 1 of

the ’032 patent by and through the use of Wiz’s CSP and/or other similar products or services for

Wiz’s clients or customers.

       82.     The preamble of claim 1 recites “[a] method for securing virtual cloud assets against

cyber vulnerabilities in a cloud computing environment, the method comprising . . . .” To the

extent the preamble is limiting, Wiz practices this step by, for example, using Wiz’s CSP to detect

cyber vulnerabilities in cloud computing environments and secure virtual cloud assets within those

environments against said vulnerabilities.        See, e.g., https://www.wiz.io/solutions/cnapp

(advertising that Wiz “identif[ies] and remediate[s] risks and respond[s] to threats in [] cloud

environments”);               https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-

vulnerabilities-kev-with-wiz (“Detect and prioritize CISA Known Exploited Vulnerabilities in the

cloud with Wiz”).

       83.     Claim 1 further recites “determining, using an API or service provided by the cloud

computing environment, a location of a snapshot of at least one virtual disk of a protected virtual

cloud asset, wherein the protected virtual cloud asset is instantiated in the cloud computing

environment . . . .” Wiz’s public presentations and technical documentation confirm that Wiz




                                                35
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 36 of 130 PageID #: 633




practices this step by, for example, using Wiz’s CSP to perform “[a]gentless scanning via API”

provided by AWS, GCP, and Azure, among other cloud computing environments.




See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

Google Cloud Platform (GCP)). Wiz’s technical documentation confirms that its agentless

scanning includes “snapshot scanning” of instantiated virtual cloud assets, wherein Wiz “takes a

snapshot of each VM system volume and analyzes its operating system, application layer, and data

layer statically with no performance impact.” Exhibit 6 at 4, 2 (“Wiz scans all the resources and

workloads in your cloud environment using a unique snapshot technology that covers more than

an agent can.”); Exhibit 11 (“Wiz connects to your cloud environment via your cloud service

provider’s   APIs   in   order   to   extract   metadata   and    perform    snapshot   scans.”);

https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics         (same);     Exhibit    12         (same);

https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

deployment, continuously assess workloads without deploying agents”).



                                                36
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 37 of 130 PageID #: 634




        84.     Claim 1 further recites “accessing, based on the determined location and using an

API or service provided by the cloud computing environment, the snapshot of the at least one

virtual disk . . . .” Wiz performs this step by, for example, accessing the snapshot of a virtual disk

in order to “analyze[] [the] operating system, application layer, and data layer” of virtual cloud

assets. See Exhibit 6 at 4, 3 (Wiz “[s]cans the workloads inside the container to determine . . . its

vulnerabilities”).   Wiz’s technical documentation explains that “Wiz connects to [a] cloud

environment via [a] cloud service provider’s APIs in order to extract metadata and perform

snapshot                         scans.”                          Exhibit                         11;

https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics (same); Exhibit 12 (same).

        85.     Claim 1 further recites “analyzing the snapshot of the at least one virtual disk by

matching installed applications with applications on a known list of vulnerable applications . . . .”

Wiz practices this step by, for example, analyzing the snapshot of a virtual disk by matching

installed applications to a known list of vulnerabilities in the “CISA Known Exploited

Vulnerability (KEV) Catalog,” which is “a catalog of known exploited vulnerabilities that carry

significant risk,” including “vulnerabilities in . . . proprietary applications.”                 See

https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-

wiz. Wiz employs “agentless scanning” to “identify [] toxic combinations” between applications

installed on a virtual disk and known vulnerable applications in Wiz’s “vulnerability catalog

consist[ing] of more than 70,000 supported vulnerabilities, across 30+ operating systems, CISA

KEV catalog and thousands of applications.”




                                                 37
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 38 of 130 PageID #: 635




https://www.wiz.io/solutions/vulnerability-management; see also id.

          86.      Claim 1 further recites “determining, based on the matching, an existence of

potential cyber vulnerabilities of the protected virtual cloud asset . . . .” Wiz practices this step

because, for example, it uses results of its agentless scanning to “list[] all the resources . . . that

are    currently    vulnerable   to   one   or   more   vulnerabilities   in   the   catalog.”     See

https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-

wiz.




See id.




                                                  38
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 39 of 130 PageID #: 636




See also Exhibit 5 at 27 (listing “CVE” vulnerabilities, such as “CVE-2022-23131 (Zabbix

Vulnerability)”).

       87.     Claim 1 further recites “determining whether the matching installed applications

are used by the protected virtual cloud asset . . . .” Wiz practices this step by, for example,

determining whether applications in Wiz’s vulnerability catalog are used by virtual cloud assets to

determine what vulnerabilities “pose the highest risk to [a] cloud environment.”               See

https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-

wiz.




                                                39
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 40 of 130 PageID #: 637




Id.; see also https://www.wiz.io/solutions/dspm (“Automatically correlate your sensitive data with

underlying cloud context, including . . . how data assets are configured and used”);

https://www.wiz.io/blog/monitor-detect-and-respond-to-cloud-data-risks-faster-with-built-in-

security-controls (“[Y]ou can easily identify data resources with sensitive data that has traffic from

an    unrecommended         IP.”);     https://www.wiz.io/blog/uncover-what-is-deployed-in-your-

environment-with-enhanced-wiz-inventory (“The Wiz inventory already gives customers deep

visibility into what cloud resources, applications, operating systems, and packages exist in their

environment in minutes.”); Exhibit 6 at 3 (“Wiz uses the full context of your cloud and combines

this information into a single graph in order to correlate related issues”).

       88.     Claim 1 further recites “prioritizing the potential cyber vulnerabilities based on the

use determinations . . . .” Wiz performs this step by, for example, using its vulnerability “catalog

input . . . to better prioritize and mitigate the critical risks.” See https://www.wiz.io/blog/detect-

and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz.       Wiz also prioritizes cyber

vulnerabilities based on one or more of “Severity,” “Score,” and “exploitability” ratings.




                                                  40
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 41 of 130 PageID #: 638




See id.; see also Exhibit 5 at 27 (same).

       89.     Claim 1 further recites “reporting the determined potential cyber vulnerabilities, as

prioritized alerts according to the use determinations.” Wiz performs this step by, for example,

reporting “Vulnerabilit[ies],” prioritized according to “Severity,” “Score,” and/or “exploitability”

through its “CISA Known Exploited Vulnerability Catalog CVEs dashboard.”




                                                41
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 42 of 130 PageID #: 639




See      https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-

with-wiz; see also Exhibit 5 at 27 (prioritizing vulnerabilities according to “Severity”);

https://www.wiz.io/blog/monitor-detect-and-respond-to-cloud-data-risks-faster-with-built-in-

security-controls (Wiz “detect[s] and alert[s] on suspicious events and threats using rules

continuously updated by Wiz Research.”); https://www.wiz.io/solutions/dspm (“Automatically

correlate your sensitive data with underlying cloud context, including . . . how data assets are

configured and used”).

       90.     As described in the preceding paragraphs, Wiz practices each limitation of claim 1

of the ’032 patent, either literally or under the doctrine of equivalents.

       91.     The above examples of how Wiz directly infringes claim 1 of the ’032 patent are

non-limiting and based on information currently available to Orca. In particular, additional or

different aspects of Wiz’s products or services may be identified that meet the limitations of claim

1 of the ’032 patent, additional claims of the ’032 patent may be determined to be infringed, and




                                                  42
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 43 of 130 PageID #: 640




additional Wiz products or services may be identified as infringing once additional nonpublic

information is provided through the course of discovery.

       (b)     Induced Infringement of the ’032 Patent

       92.     On information and belief, in providing Wiz’s CSP to its customers, Wiz has

induced, and continues to induce, direct infringement of one or more claims of the ’032 patent,

including at least claim 1, literally and/or under the doctrine of equivalents pursuant to 35 U.S.C.

§ 271(b).

       93.     On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’032 patent and its infringement thereof when the ’032 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

knowledge of the ’032 patent’s parent application, U.S. Patent Application No. 16/585,967 and its

provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’032 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. In any event, Wiz has

had knowledge of the ’032 patent and its infringement thereof since at least as early as the filing

of the Original Complaint on July 12, 2023.

       94.     On information and belief, Wiz possesses a specific intent to induce infringement

by, at a minimum, providing user guides, instructions, sales-related material, and/or other

supporting documentation, and by way of advertising, solicitation, and provision of product

instruction materials, that instruct its customers on the normal operation of Wiz’s CSP in a manner

that infringes one or more claims of the ’032 patent, including at least claim 1 of the ’032 patent,


                                                  43
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 44 of 130 PageID #: 641




or, in the alternative, Wiz believed there was a high probability that the acts of its customers would

infringe one or more claims of the ’032 patent, including at least claim 1, and took deliberate steps

to avoid learning of that infringement.

        95.      Wiz’s specific intent to induce infringement is also demonstrated by its actions

since the filing of the Original Complaint on July 12, 2023. As of October 10, 2023, despite the

disclosure of its infringement in the Original Complaint, Wiz still maintains many of the same

pages on its website instructing its customers and potential customers on how the Wiz CSP can be

used to infringe the ’032 Patent that were identified in the Original Complaint.               See, e.g.,

https://www.wiz.io/ (last accessed Oct. 10, 2023); https://www.wiz.io/product (last accessed

Oct. 10,      2023);   https://www.wiz.io/solutions/cnapp    (last   accessed     Oct.   10,      2023);

https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz

(last accessed Oct. 10, 2023); https://www.wiz.io/solutions/vulnerability-management (last

accessed Oct. 10, 2023); https://www.wiz.io/solutions/dspm (last accessed Oct. 10, 2023);

https://www.wiz.io/blog/monitor-detect-and-respond-to-cloud-data-risks-faster-with-built-in-

security-controls (last accessed Oct. 10, 2023); https://www.wiz.io/blog/uncover-what-is-

deployed-in-your-environment-with-enhanced-wiz-inventory (last accessed Oct. 10, 2023).

        96.      In addition, after the filing of the Original Complaint, Wiz posted a video on

August 11, 2023, specifically instructing users how to use Wiz’s platform to perform agentless

scanning of virtual cloud assets, vulnerability detection using a list of applications with known

vulnerabilities, and reporting of vulnerabilities as prioritized alerts based on risk in a manner

specifically intended to infringe at least claim 1 of the ’032 patent.                     See, e.g.,

https://www.youtube.com/watch?v=GP0NWZa_7vk (“Wiz for Vulnerability Management

Demo”         (Aug.    11,    2023))      (last   accessed    Oct.     10,      2023);    see       also




                                                  44
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 45 of 130 PageID #: 642




https://www.youtube.com/watch?v=a8l9zIQUoVI (“Wiz for CSPM Demo” (Aug. 11, 2023)) (last

accessed Oct. 10, 2023).

       97.     In further addition, after the filing of the Amended Complaint, Wiz published an

article on September 28, 2023 specifically instructing users how Wiz “can help organizations to

identify, prioritize, and remediate vulnerabilities across their cloud environments quickly and

effectively with the following capabilities,” including through “[a]gentless scanning,”

“[c]ontinuous scanning,” “[d]eep contextual assessments,” and “[r]isk-based prioritization” in a

manner intended to infringe at least claim 1 of the ’032 patent.                           See, e.g.,

https://www.wiz.io/academy/vulnerability-management-best-practices (Sept. 28, 2023) (last

accessed Oct. 10, 2023); see also https://www.wiz.io/academy/cloud-security-best-practices

(Sept. 20, 2023) (last accessed Oct. 10, 2023).

       (c)     Contributory Infringement of the ’032 Patent

       98.     On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’032 patent and its infringement thereof when the ’032 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

knowledge of the ’032 patent’s parent application, U.S. Patent Application No. 16/585,967, and

its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’032 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. In any event, Wiz has

had knowledge of the ’032 patent and its infringement thereof since at least as early as the filing

of the Original Complaint on July 12, 2023.


                                                  45
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 46 of 130 PageID #: 643




       99.     By providing Wiz’s CSP to its customers, Wiz has in the past contributed, and

continues to contribute, to the direct infringement of one or more claims of the ’032 patent, literally

and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 271(c), including at least

claim 1 of the ’032 patent. Wiz has contributorily infringed and continues to contribute to the

infringement of one or more claims of the ’032 patent by offering to sell or selling Wiz’s CSP,

which is a patented component, constituting a material part of the invention, knowing the same to

be especially made or especially adapted for use in an infringement and not a staple article or

commodity of commerce suitable for substantial non-infringing use.

       100.    Wiz’s CSP, or any further component parts thereof, is not a staple article of

commerce and has no substantial non-infringing use. On information and belief, Wiz’s CSP

cannot operate without incorporating technology claimed by the claims of the ’032 patent.

Specifically, as described above, Wiz’s user guides, instructions, sales-related material, and/or

other supporting documentation state that Wiz’s CSP is intended to be used to perform agentless

scanning of virtual assets in a client environment through snapshot scanning using an API provided

by the cloud environment, match installed applications to a known list of vulnerabilities (such as

vulnerabilities in the CISA KEV Catalog), and to determine, prioritize, and report potential

vulnerabilities based on use determinations, as claimed in the claims of the ’032 patent. See, e.g.,

Exhibit 4 at 1-2; Exhibit 5 at 11-23; Exhibit 6; https://www.wiz.io/blog/detect-and-prioritize-cisa-

known-exploited-vulnerabilities-kev-with-wiz. Its documentation does not advertise or otherwise

suggest that Wiz’s CSP is a staple article of commerce or has a substantial non-infringing use. See

generally Exhibit 5; Exhibit 6. Furthermore, when used as shown in Wiz’s documentation, Wiz’s

CSP directly infringes claims of the ’032 patent as described above in Paragraphs 79-91.




                                                  46
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 47 of 130 PageID #: 644




       101.    On information and belief, Wiz has continued to contributorily infringe in the same

way as set forth in the preceding paragraphs since the filing of the Original Complaint on July 12,

2023. As of October 10, 2023, despite the disclosure of its infringement in the Original Complaint,

Wiz still maintains many of the same pages on its website that were referenced in the Original

Complaint and are referenced herein. See, e.g., https://www.wiz.io/ (last accessed Oct. 10, 2023);

https://www.wiz.io/product (last accessed Oct. 10, 2023); https://www.wiz.io/solutions/cnapp

(last accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-and-prioritize-cisa-known-

exploited-vulnerabilities-kev-with-wiz         (last      accessed        Oct.        10,         2023);

https://www.wiz.io/solutions/vulnerability-management         (last   accessed    Oct.      10,   2023);

https://www.wiz.io/solutions/dspm           (last        accessed        Oct.        10,          2023);

https://www.wiz.io/blog/monitor-detect-and-respond-to-cloud-data-risks-faster-with-built-in-

security-controls (last accessed Oct. 10, 2023); https://www.wiz.io/blog/uncover-what-is-

deployed-in-your-environment-with-enhanced-wiz-inventory (last accessed Oct. 10, 2023).

       (d)     Willful Infringement of the ’032 Patent

       102.    On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’032 patent and its infringement thereof when the ’032 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

knowledge of the ’032 patent’s parent application, U.S. Patent Application No. 16/585,967, and

its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’032 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. In any event, Wiz has


                                                    47
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 48 of 130 PageID #: 645




had knowledge of the ’032 patent and its infringement thereof since at least as early as the filing

of the Original Complaint on July 12, 2023.

        103.     Wiz’s intentional and deliberate infringement is also demonstrated by its actions

since the filing of the Original Complaint on July 12, 2023, which show a continuing willful,

deliberate, and consciously wrongful intent to infringe the ’032 patent. As of October 10, 2023,

despite the disclosure of its infringement in the Original Complaint, Wiz still maintains many of

the same pages on its website identified in the Original Complaint describing Wiz’s infringement

of the ’032 patent. See, e.g., Original Complaint ¶¶ 62-89; https://www.wiz.io/ (last accessed

Oct. 10,       2023);   https://www.wiz.io/product       (last       accessed       Oct.     10,       2023);

https://www.wiz.io/solutions/cnapp (last accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-

and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz (last accessed Oct. 10, 2023);

https://www.wiz.io/solutions/vulnerability-management            (last   accessed     Oct.       10,   2023);

https://www.wiz.io/solutions/dspm           (last        accessed          Oct.            10,         2023);

https://www.wiz.io/blog/monitor-detect-and-respond-to-cloud-data-risks-faster-with-built-in-

security-controls (last accessed Oct. 10, 2023); https://www.wiz.io/blog/uncover-what-is-

deployed-in-your-environment-with-enhanced-wiz-inventory (last accessed Oct. 10, 2023).

        104.     Wiz also posted a video on August 11, 2023, describing how Wiz continues to use

its Wiz CSP to infringe the ’032 patent, including by promoting Wiz’s agentless scanning of virtual

cloud assets, vulnerability detection using a list of applications with known vulnerabilities, and

reporting of vulnerabilities as prioritized alerts based on risk.




                                                    48
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 49 of 130 PageID #: 646




See,   e.g.,   https://www.youtube.com/watch?v=GP0NWZa_7vk        (“Wiz    for   Vulnerability

Management Demo” (Aug. 11, 2023)) at 0:06 (last accessed Oct. 10, 2023).




                                             49
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 50 of 130 PageID #: 647




Id. at 1:02; see also https://www.youtube.com/watch?v=a8l9zIQUoVI (“Wiz for CSPM Demo”

(Aug. 11, 2023)) (last accessed Oct. 10, 2023).

       105.     Wiz also published an article on September 28, 2023, describing how Wiz

continues to use its Wiz CSP to “identify, prioritize, and remediate vulnerabilities across their

cloud environments quickly and effectively with the following capabilities,” including through

“[a]gentless scanning,” “[c]ontinuous scanning,” “[d]eep contextual assessments,” and “[r]isk-

based prioritization” in a manner intended to infringe at least claim 1 of the ’032 patent. See, e.g.,

https://www.wiz.io/academy/vulnerability-management-best-practices (Sept. 28, 2023) (last

accessed Oct. 10, 2023); see also https://www.wiz.io/academy/cloud-security-best-practices

(Sept. 20, 2023) (last accessed Oct. 10, 2023).

       106.     Wiz’s infringement has been and continues to be intentional and deliberate,

entitling Orca to enhanced damages under 35 U.S.C. § 284 and a finding that this case is

exceptional, entitling Orca to an award of reasonable attorneys’ fees under 35 U.S.C. § 285.

       107.     On information and belief, Wiz has profited from and will continue to profit from

its infringing activities. Orca has been and will continue to be damaged and irreparably harmed

by Wiz’s infringing activities. As a result, Orca is entitled to injunctive relief and damages

adequate to compensate it for such infringement, in no event less than a reasonable royalty, in

accordance with 35 U.S.C. §§ 271, 281, 283, and 284. The full amount of monetary damages

Wiz’s acts of infringement have caused to Orca cannot be determined without an accounting.

       108.     The harm to Orca from Wiz’s ongoing infringing activity is irreparable, continuing,

and not fully compensable by money damages, and will continue unless Wiz’s infringing activities

are enjoined.




                                                  50
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 51 of 130 PageID #: 648




                                     COUNT III
                          (INFRINGEMENT OF THE ’685 PATENT)

       109.    Orca incorporates all other allegations in this Second Amended Complaint.

       110.    The ’685 patent is entitled “Virtual Machine Vulnerabilities and Sensitive Data

Analysis and Detection” and was duly and legally issued on July 4, 2023. A true and correct copy

of the ’685 patent is attached hereto as Exhibit 7.

       111.    Orca is the owner of all rights, title, and interest in the ’685 patent.

       112.    The ’685 patent is valid and enforceable.

       113.    The inventions claimed in the ’685 patent improved on prior art cloud security

systems and methods by, inter alia, using an interface to identify virtual disks of a virtual machine,

generating at least one snapshot of the virtual disks, analyzing the at least one snapshot to detect

vulnerabilities and sensitive data wherein analyzing the at least one snapshot requires no

interaction with the virtual machine, determining a risk level of the virtual machine, and reporting

said vulnerabilities and sensitive data. See, e.g., ’685 patent at cls. 1-22. This novel analysis of

snapshots and data requiring no interaction with the virtual machine was not well understood,

routine, or conventional. It is an inventive concept that enables agentless security assessments,

and improves the practicality and effectiveness of protecting cloud computing infrastructure and

virtual machines by reducing costs typically associated with such protection, including the cost of

licensing, deployment, integration, training, and support. By analyzing virtual assets without

interaction with the virtual machine, the ’685 patent provided improved security for a cloud

computing platform because virtual machines can be analyzed more easily, quickly, and

comprehensively than previous strategies allowed.




                                                  51
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 52 of 130 PageID #: 649




       (a)     Direct Infringement of the ’685 Patent

       114.    Wiz, without authorization, directly infringes one or more claims of the ’685 patent,

literally and/or under the doctrine of equivalents. Wiz infringes under 35 U.S.C. § 271 including,

without limitation, 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing

within the United States without authority, Wiz’s CSP and other similar products or services,

which includes (or is otherwise referred to) but is not limited to Wiz’s CNAPP, CSPM, CIEM,

DSPM, IaC scanning, and CDR platforms and/or features. See https://www.wiz.io/; see also

https://www.wiz.io/product. Wiz’s infringement includes infringement of, for example, claim 1

of the ’685 patent.

       115.    Claim 1 of the ’685 patent recites:

               1. A system for inspecting data, the system comprising: at least one processor

       configured to:

                        establish an interface between a client environment and security

               components;

                        using the interface, utilize cloud computing platform APIs to identify virtual

               disks of a virtual machine in the client environment;

                        use the computing platform APIs to query a location of at least one of the

               identified virtual disks;

                        receive an identification of the location of the virtual disks of the virtual

               machine;

                        generate at least one snapshot of the virtual disks of the virtual machine;

                        analyze the at least one snapshot to detect vulnerabilities and sensitive data,

               wherein analyzing the at least one snapshot requires no interaction with the virtual

               machine;


                                                  52
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 53 of 130 PageID #: 650




                        determine a risk level of the virtual machine; and

                        report the detected vulnerabilities and sensitive data as alerts, wherein the

                alerts are filtered and prioritized based on the determined risk level of the virtual

                machine.

        116.    On information and belief, Wiz practices each and every limitation of claim 1 of

the ’685 patent by and through the use of Wiz’s CSP and/or other similar products or services for

Wiz’s clients or customers.

        117.    The preamble of claim 1 recites “[a] system for inspecting data, the system

comprising: at least one processor configured to . . . .” Wiz’s public presentations and technical

documentation confirm that Wiz’s CSP system is a system for inspecting data. See, e.g., Exhibit 5

at 13 (Wiz performs an “[a]gentless scan of cloud metadata and workloads,” including

“Application and Data”), 20 (Wiz performs “[s]ecrets scanning in data assets”), 21 (Wiz performs

“[d]ata scanning”); Exhibit 6 at 2 (“Wiz analyzes the operating system, applications, code libraries,

and secrets. Wiz also scans your cloud configuration and metadata.”). On information and belief,

Wiz’s CSP is implemented in software running on at least one processor including to “scan

everything, provide context and prioritization on the most pressing risks, and enable secure

practice practices.”     https://www.wiz.io/solutions/cnapp; see id. (“Wiz leverages unique

technology to scan PaaS resources, Virtual Machines, Containers, Serverless Functions, . . . to

identify the risks in each layer”).

        118.    Claim 1 further recites “establish an interface between a client environment and

security components . . . .” Wiz’s CSP practices this element by, for example, establishing an

interface “via API” to a client environment and security components.




                                                 53
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 54 of 130 PageID #: 651




See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

Google Cloud Platform (GCP)); Exhibit 11 (“Wiz connects to your cloud environment via your

cloud service provider’s APIs in order to extract metadata and perform snapshot scans.”);

https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics             (same);      Exhibit      12      (same);

https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

deployment, continuously assess workloads without deploying agents”).

       119.    Claim 1 further recites “using the interface, utilize cloud computing platform APIs

to identify virtual disks of a virtual machine in the client environment . . . .” Wiz’s CSP satisfies

this limitation because, for example, it utilizes APIs provided by AWS, GCP, and Azure, among

other cloud computing environments, to identify virtual disks of a virtual machine in the client

environment.




                                                 54
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 55 of 130 PageID #: 652




See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

Google Cloud Platform (GCP)). Through the API, Wiz’s system creates a graph of a client

environment “with full context on the resource[s],” which includes identifying virtual disks of

virtual machines. See https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-for-

cloud-security; Exhibit 6 at 3 (“Wiz uses the full context of your cloud and combines this

information into a single graph in order to correlate related issues”), 4 (Wiz “takes a snapshot of

each VM system volume and analyzes its operating system, application layer, and data layer

statically with no performance impact.”).

       120.     Claim 1 further recites “use the computing platform APIs to query a location of at

least one of the identified virtual disks . . . .” Wiz’s CSP satisfies this limitation because, for

example, it uses computing platform APIs from AWS, GCP, Azure, and other providers, to

perform a query to locate virtual disks and other resources. See Exhibit 5 at 13 (“Agentless

scanning      via   API”);   https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-

vulnerabilities-kev-with-wiz (“You can query and locate all the VMs, containers, and serverless



                                                55
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 56 of 130 PageID #: 653




functions in your cloud environment that are vulnerable to a specific CVE in the catalog with a

simple query shortcut.”); https://www.wiz.io/solutions/cnapp (“Scan buckets, data volumes, and

databases and quickly classify the data to track wh[ere] data is located.”); Exhibit 13 (“[C]heck

out our guide for optimizing your Security Graph queries.”); Exhibit 11 (“Wiz connects to your

cloud environment via your cloud service provider’s APIs in order to extract metadata and perform

snapshot      scans.”);     https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics                  (same);       Exhibit       12       (same);

https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

deployment, continuously assess workloads without deploying agents”).

          121.      Claim 1 further recites “receive an identification of the location of the virtual disks

of the virtual machine . . . .” Wiz’s CSP satisfies this limitation because, for example, it identifies

virtual     disks    and other resources        it   locates   when    it   performs    a   query.      See

https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz

(“You can query and locate all the VMs, containers, and serverless functions in your cloud

environment that are vulnerable to a specific CVE in the catalog with a simple query shortcut.”).

As another example, Wiz’s CSP system creates a graph showing the locations of virtual cloud

assets, including virtual machines and virtual disks, within a client environment. See Exhibit 6

at 3 (Wiz “uses the full context of your cloud and combines this information into a single graph in

order to correlate related issues”); see also Exhibit 5 at 13 (“Full visibility in minutes . . . without

agents”).

          122.      Claim 1 further recites “generate at least one snapshot of the virtual disks of the

virtual machine . . . .” Wiz’s CSP satisfies this limitation because, for example, it generates a

snapshot of a virtual disk in order to “analyze[] [the] operating system, application layer, and data




                                                      56
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 57 of 130 PageID #: 654




layer” of virtual machines in a client environment. See Exhibit 6 at 4, 2 (“Wiz scans all the

resources and workloads in your cloud environment using a unique snapshot technology that

covers more than an agent can.”). Wiz’s technical documentation explains that “Wiz connects to

[a] cloud environment via [a] cloud service provider’s APIs in order to extract metadata and

perform                snapshot                 scans.”                           Exhibit              11;

https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics (same); Exhibit 12 (same).

       123.    Claim 1 further recites “analyze the at least one snapshot to detect vulnerabilities

and sensitive data, wherein analyzing the at least one snapshot requires no interaction with the

virtual machine . . . .” Wiz’s CSP satisfies this limitation because, for example, it analyzes the

snapshot of a virtual disk to determine cyber vulnerabilities affecting the virtual disk.




https://www.wiz.io/solutions/vulnerability-management.              Wiz’s CSP also “analyzes [the]

operating system, application layer, and data layer” of virtual machines to provide full visibility

into vulnerabilities across the cloud computing environment. See Exhibit 6 at 4 (Wiz “[s]cans the

workloads     inside     the      container     to      determine    .    .   .   its    vulnerabilities”);

https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-for-cloud-security

(“[D]efenders can now analyze activities and review timelines within the graph, with full context

on the resource, roles, vulnerabilities, and potential impact.”). Wiz’s CSP also detects “sensitive

data and secrets exposure.” See, e.g., https://www.wiz.io/solutions/dspm. Furthermore, Wiz’s

CSP       analyzes        snapshots           without        “deploying       agents.”      See,      e.g.,




                                                        57
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 58 of 130 PageID #: 655




https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

deployment, continuously assess workloads without deploying agent”).

       124.    Claim 1 further recites “determine a risk level of the virtual machine . . . .” Wiz’s

CSP satisfies this limitation because, for example, it identifies assets with “toxic combinations”

and “finding the resources that pose the highest risk in [a] cloud environment.”




https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-

wiz.




Id.




                                                58
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 59 of 130 PageID #: 656




See also Exhibit 5 at 27. Wiz also states that it “[p]rioritize[s] risk and attack paths to critical

assets” within the cloud computing environment.




Id. at 17; see also Exhibit 6 at 3 (“Scan for vulnerable and unpatched operating systems, installed

software,    and     code    libraries    in    your    workloads      prioritized    by    risk.”);



                                                59
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 60 of 130 PageID #: 657




https://www.wiz.io/solutions/cnapp (“ruthless risk prioritization”, “prioritize the most critical

risks”).

           125.    Claim 1 further recites “report the detected vulnerabilities and sensitive data as

alerts, wherein the alerts are filtered and prioritized based on the determined risk level of the virtual

machine.”         Wiz’s CSP satisfies this element because, for example, it reports detected

vulnerabilities and sensitive data and “prioritize[s] the most critical risks.”               See, e.g.,

https://www.wiz.io/solutions/cnapp (“ruthless risk prioritization”, “prioritize the most critical

risks”).




https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz

(“CISA Known Exploited Vulnerability Catalog CVEs dashboard in Wiz”); see also Exhibit 6 at 3

(“Scan for vulnerable and unpatched operating systems, installed software, and code libraries in

your workloads prioritized by risk.”).




                                                   60
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 61 of 130 PageID #: 658




See, e.g., https://www.wiz.io/solutions/cnapp;         https://www.wiz.io/blog/uniting-builders-and-

defenders-a-new-vision-for-cloud-security (“[D]efenders can now analyze activities and review

timelines within the graph, with full context on the resource, roles, vulnerabilities, and potential

impact.”); Exhibit 6 at 3 (“Wiz uses the full context of your cloud and combines this information

into     a      single      graph      in      order       to     correlate     related    issues”);

https://www.wiz.io/solutions/vulnerability-management (“Use the Threat Center to immediately

identify workload exposure to the latest vulnerabilities sourced from Wiz Research along with

numerous third-party threat intelligence feeds.”).

       126.    As described in the preceding paragraphs, Wiz’s CSP satisfies each limitation of

claim 1 of the ’685 patent, either literally or under the doctrine of equivalents.

       127.    The above examples of how Wiz’s CSP directly infringes claim 1 of the ’685 patent

are non-limiting and based on information currently available to Orca. In particular, additional or

different aspects of Wiz’s products or services may be identified that meet the limitations of

claim 1 of the ’685 patent, additional claims of the ’685 patent may be determined to be infringed,

and additional Wiz products or services may be identified as infringing once additional nonpublic

information is provided through the course of discovery.




                                                  61
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 62 of 130 PageID #: 659




       (b)     Induced Infringement of the ’685 Patent

       128.    On information and belief, in providing Wiz’s CSP to its customers, Wiz has

induced, and continues to induce, direct infringement of one or more claims of the ’685 patent,

including at least claim 1, literally and/or under the doctrine of equivalents pursuant to 35 U.S.C.

§ 271(b).

       129.    On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’685 patent and its infringement thereof when the ’685 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

knowledge of the ’685 patent’s parent application, U.S. Patent Application No. 16/585,967 and its

provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’685 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

September 12, 2023, Orca notified Wiz of its infringement of the ’685 patent through a cease-and-

desist letter, attached hereto as Exhibit 10. Accordingly, Wiz has had knowledge of the ’685 patent

since at least September 12, 2023. In any event, Wiz has had knowledge of the ’685 patent and its

infringement thereof since at least as early as the filing of the First Amended Complaint on

September 15, 2023.

       130.    On information and belief, Wiz possesses a specific intent to induce infringement

by, at a minimum, providing user guides, instructions, sales-related material, and/or other

supporting documentation, and by way of advertising, solicitation, and provision of product

instruction materials, that instruct its customers on the normal operation of Wiz’s CSP in a manner


                                                  62
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 63 of 130 PageID #: 660




that infringes one or more claims of the ’685 patent, including at least claim 1 of the ’685 patent,

or, in the alternative, Wiz believed there was a high probability that the acts of its customers would

infringe one or more claims of the ’685 patent, including at least claim 1, and took deliberate steps

to avoid learning of that infringement.

       131.    Wiz’s specific intent to induce is demonstrated by its public instructions and other

documentation. For example, in a video titled “Wiz for Vulnerability Management,” posted by

Wiz on August 11, 2023, Wiz specifically instructs users on how to use Wiz’s platform to perform

“agentless vulnerability scanning across every layer of your cloud environment,” identify “the

threats you need to pay attention to right now . . . and what resources are at risk,” and “generate a

vulnerability report” in a manner specifically intended to infringe at least claim 1 of the ’685

patent. See, e.g., https://www.youtube.com/watch?v=GP0NWZa_7vk at 0:05, 1:50, 2:00 (“Wiz

for Vulnerability Management Demo” (Aug. 11, 2023)) (last accessed Oct. 10, 2023); see also

https://www.youtube.com/watch?v=a8l9zIQUoVI (“Wiz for CSPM Demo” (Aug. 11, 2023)) (last

accessed Oct. 10, 2023).

       132.    Wiz’s specific intent to induce infringement is also demonstrated by its actions

since receiving the cease-and-desist letter on September 12, 2023, and since the filing of the First

Amended Complaint on September 15, 2023. As of October 10, 2023, despite the disclosure of

its infringement in the cease-and-desist letter and First Amended Complaint, Wiz still maintains

many of the same pages on its website instructing its customers and potential customers on how

the Wiz CSP can be used to infringe the ’685 patent that were identified in Appendix E to the

cease-and-desist letter and in the First Amended Complaint. See, e.g., Exhibit 10 at Appendix E;

First Amended Complaint ¶¶ 110-123; https://www.wiz.io/ (last accessed Oct. 10, 2023);

https://www.wiz.io/product (last accessed Oct. 10, 2023); https://www.wiz.io/solutions/cnapp




                                                 63
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 64 of 130 PageID #: 661




(last accessed Oct. 10, 2023); https://www.wiz.io/solutions/vulnerability-management (last

accessed Oct. 10, 2023); https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-

for-cloud-security (last accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-and-prioritize-

cisa-known-exploited-vulnerabilities-kev-with-wiz         (last    accessed      Oct.     10,    2023);

https://www.wiz.io/solutions/dspm (last accessed Oct. 10, 2023).

       133.    In addition, after receiving the cease-and-desist letter and after the filing of the First

Amended Complaint, Wiz published an article on September 28, 2023 specifically instructing

users how Wiz “can help organizations to identify, prioritize, and remediate vulnerabilities across

their cloud environments quickly and effectively with the following capabilities,” including

through “[a]gentless scanning,” “[c]ontinuous scanning,” “[d]eep contextual assessments,” and

“[r]isk-based prioritization” in a manner intended to infringe at least claim 1 of the ’685 patent.

See, e.g., https://www.wiz.io/academy/vulnerability-management-best-practices (Sept. 28, 2023)

(last accessed Oct. 10, 2023); see also https://www.wiz.io/academy/cloud-security-best-practices

(Sept. 20, 2023) (last accessed Oct. 10, 2023).

       (c)     Contributory Infringement of the ’685 Patent

       134.    On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’685 patent and its infringement thereof when the ’685 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

knowledge of the ’685 patent’s parent application, U.S. Patent Application No. 16/585,967, and

its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’685 patent, and, on information and belief, these figures in


                                                  64
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 65 of 130 PageID #: 662




Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

September 12, 2023, Orca notified Wiz of its infringement of the ’685 patent through a cease-and-

desist letter, attached hereto as Exhibit 10. In any event, Wiz has had knowledge of the ’685 patent

and its infringement thereof since at least as early as the filing of the First Amended Complaint on

September 15, 2023.

       135.    By providing Wiz’s CSP to its customers, Wiz has in the past contributed, and

continues to contribute, to the direct infringement of one or more claims of the ’685 patent, literally

and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 271(c), including at least

claim 1 of the ’685 patent. Wiz has contributorily infringed and continues to contribute to the

infringement of one or more claims of the ’685 patent by offering to sell or selling Wiz’s CSP,

which is a patented component, constituting a material part of the invention, knowing the same to

be especially made or especially adapted for use in an infringement and not a staple article or

commodity of commerce suitable for substantial non-infringing use.

       136.    Wiz’s CSP, or any further component parts thereof, is not a staple article of

commerce and has no substantial non-infringing use. On information and belief, Wiz’s CSP

cannot operate without incorporating technology claimed by the claims of the ’685 patent.

Specifically, as described above, Wiz’s user guides, instructions, sales-related material, and/or

other supporting documentation state that Wiz’s CSP establishes an interface between a client

environment and security component using an API(s), which it uses to identify a virtual disk in a

client environment, receives an identification of the location of the virtual disk when it performs a

query, generates a snapshot of the virtual disk using snapshot technology, analyzes the snapshot

to detect vulnerabilities, and reports the vulnerabilities prioritized based risk, as claimed in the

claims of the ’685 patent. See, e.g., Exhibit 4 at 1-2; Exhibit 5 at 11-23; Exhibit 6. Its




                                                  65
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 66 of 130 PageID #: 663




documentation does not advertise or otherwise suggest that Wiz’s CSP is a staple article of

commerce or has a substantial non-infringing use.            See generally Exhibit 5; Exhibit 6.

Furthermore, when used as shown in Wiz’s documentation, Wiz’s CSP directly infringes claims

of the ’685 patent as described above in Paragraphs 114-127.

       137.     On information and belief, Wiz has continued to contributorily infringe in the same

way as set forth in the preceding paragraphs since receiving the cease-and-desist letter on

September 12, 2023 and since the filing of the First Amended Complaint on September 15, 2023.

As of October 10, 2023, despite the disclosure of its infringement in the cease-and-desist letter and

First Amended Complaint, Wiz still maintains many of the same pages on its website that were

referenced in Appendix E to the cease-and-desist letter and in the First Amended Complaint and

are referenced herein. See, e.g., Exhibit 10 at Appendix E; First Amended Complaint ¶¶ 110-123;

https://www.wiz.io/ (last accessed Oct. 10, 2023); https://www.wiz.io/product (last accessed

Oct. 10,     2023);   https://www.wiz.io/solutions/cnapp      (last   accessed    Oct.   10,    2023);

https://www.wiz.io/solutions/vulnerability-management         (last   accessed    Oct.   10,    2023);

https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-for-cloud-security            (last

accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-

vulnerabilities-kev-with-wiz (last accessed Oct. 10, 2023); https://www.wiz.io/solutions/dspm

(last accessed Oct. 10, 2023).

       (d)      Willful Infringement of the ’685 Patent

       138.     On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’685 patent and its infringement thereof when the ’685 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

knowledge of the ’685 patent’s parent application, U.S. Patent Application No. 16/585,967, and


                                                  66
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 67 of 130 PageID #: 664




its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’685 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

September 12, 2023, Orca notified Wiz of its infringement of the ’685 patent through a cease-and-

desist letter, attached hereto as Exhibit 10. In any event, Wiz has had knowledge of the ’685 patent

and its infringement thereof since at least as early as the filing of the First Amended Complaint on

September 15, 2023.

       139.    Wiz’s intentional and deliberate infringement is also demonstrated by its actions

since receiving the cease-and-desist letter on September 12, 2023 and since the filing of the First

Amended Complaint on September 15, 2023, which show a continuing willful, deliberate, and

consciously wrongful intent to infringe the ’685 patent. As of October 10, 2023, despite the

disclosure of its infringement in the cease-and-desist letter and First Amended Complaint, Wiz

still maintains many of the same pages on its website identified in Appendix E to the cease-and-

desist letter and in the First Amended Complaint describing Wiz’s infringement of the ’685 patent.

See, e.g., Exhibit 10 at Appendix E; First Amended Complaint ¶¶ 110-123; https://www.wiz.io/

(last accessed Oct. 10, 2023); https://www.wiz.io/product (last accessed Oct. 10, 2023);

https://www.wiz.io/solutions/cnapp         (last        accessed       Oct.       10,         2023);

https://www.wiz.io/solutions/vulnerability-management       (last   accessed   Oct.     10,   2023);

https://www.wiz.io/blog/uniting-builders-and-defenders-a-new-vision-for-cloud-security          (last

accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-




                                                   67
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 68 of 130 PageID #: 665




vulnerabilities-kev-with-wiz (last accessed Oct. 10, 2023); https://www.wiz.io/solutions/dspm

(last accessed Oct. 10, 2023).

         140.   Wiz also published an article on September 28, 2023, describing how Wiz

continues to use its Wiz CSP to “identify, prioritize, and remediate vulnerabilities across their

cloud environments quickly and effectively with the following capabilities,” including through

“[a]gentless scanning,” “[c]ontinuous scanning,” “[d]eep contextual assessments,” and “[r]isk-

based prioritization” in a manner that demonstrates a conscious disregard for Orca’s rights in the

inventions claimed in the ’685 patent.      See, e.g., https://www.wiz.io/academy/vulnerability-

management-best-practices (Sept. 28, 2023) (last accessed Oct. 10, 2023); see also

https://www.wiz.io/academy/cloud-security-best-practices (Sept. 20, 2023) (last accessed Oct. 10,

2023).

         141.   Wiz’s infringement has been and continues to be intentional and deliberate,

entitling Orca to enhanced damages under 35 U.S.C. § 284 and a finding that this case is

exceptional, entitling Orca to an award of reasonable attorneys’ fees under 35 U.S.C. § 285.

         142.   On information and belief, Wiz has profited from and will continue to profit from

its infringing activities. Orca has been and will continue to be damaged and irreparably harmed

by Wiz’s infringing activities. As a result, Orca is entitled to injunctive relief and damages

adequate to compensate it for such infringement, in no event less than a reasonable royalty, in

accordance with 35 U.S.C. §§ 271, 281, 283, and 284. The full amount of monetary damages

Wiz’s acts of infringement have caused to Orca cannot be determined without an accounting.

         143.   The harm to Orca from Wiz’s ongoing infringing activity is irreparable, continuing,

and not fully compensable by money damages, and will continue unless Wiz’s infringing activities

are enjoined.




                                                68
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 69 of 130 PageID #: 666




                                     COUNT IV
                          (INFRINGEMENT OF THE ’809 PATENT)

        144.    Orca incorporates all other allegations in this Second Amended Complaint.

        145.    The ’809 patent is entitled “Techniques for Securing Virtual Machines by

Application Existence Analysis” and was duly and legally issued on August 15, 2023. A true and

correct copy of the ’809 patent is attached hereto as Exhibit 8.

        146.    Orca is the owner of all rights, title, and interest in the ’809 patent.

        147.    The ’809 patent is valid and enforceable.

        148.    The inventions claimed in the ’809 patent improved on prior art cloud security

systems and methods by, inter alia, determining a location of a snapshot of at least one virtual disk

of a protected virtual cloud asset, wherein the protected virtual cloud asset is instantiated in the

cloud computing environment, accessing the snapshot, analyzing the snapshot of the at least one

virtual disk by matching installed applications with applications on a known list of vulnerable

applications; and determining, based on the matching, an existence of a plurality of potential cyber

vulnerabilities. See, e.g., ’809 patent at cls. 1-23. This analysis of instantiated virtual cloud assets

using snapshots of a virtual disk to match installed applications with known vulnerable

applications including was not well understood, routine, or conventional. It is an inventive concept

that allows, for example, implementation of vulnerability management and security assessment

across running virtual cloud assets without the burdensome installation of agents or interaction

with particular virtual machines.        This increases speed of detection for potential cyber

vulnerabilities and reduces costs associated with such detection, including the cost of licensing,

deployment, integration, training, and support. Furthermore, the claims of the ’809 patent recite

inventive concepts for correlating potential cyber vulnerabilities with a network location of virtual

cloud assets to determine the risk of the virtual cloud assets. See, e.g., id. Correlating cyber



                                                   69
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 70 of 130 PageID #: 667




vulnerabilities with a network location of virtual cloud assets through agentless analysis was not

well understood, routine, or conventional, and improves on prior art techniques by taking into

consideration the criticality of a virtual cloud asset in the organization based on other accessible

assets or an external network.

       (a)     Direct Infringement of the ’809 Patent

       149.    Wiz, without authorization, directly infringes one or more claims of the ’809 patent,

literally and/or under the doctrine of equivalents. Wiz infringes under 35 U.S.C. § 271 including,

without limitation, 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing

within the United States without authority, Wiz’s CSP and other similar products or services,

which includes (or is otherwise referred to) but is not limited to Wiz’s CNAPP, CSPM, CIEM,

DSPM, IaC scanning, and CDR platforms and/or features. See https://www.wiz.io/; see also

https://www.wiz.io/product. Wiz’s infringement includes infringement of, for example, claim 1

of the ’809 patent.

       150.    Claim 1 of the ’809 patent recites:

               1. A method for securing virtual cloud assets against cyber vulnerabilities in a cloud

       computing environment, the method comprising:

                       determining, using an API or service provided by the cloud computing

               environment, a location of a snapshot of at least one virtual disk of a protected

               virtual cloud asset, wherein the protected virtual cloud asset is instantiated in the

               cloud computing environment;

                       accessing, based on the determined location and using an API or service

               provided by the cloud computing environment, the snapshot of the virtual disk;

                       analyzing the snapshot of the at least one virtual disk by matching installed

               applications with applications on a known list of vulnerable applications;


                                                 70
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 71 of 130 PageID #: 668




                      determining, based on the matching, an existence of a plurality of potential

               cyber vulnerabilities;

                      correlating the determined potential cyber vulnerabilities with a network

               location of the protected virtual cloud asset;

                      using the determined plurality of potential cyber vulnerabilities and the

               network location of the protected virtual cloud asset to determine a risk of the

               protected virtual cloud asset to the cloud computing environment;

                      prioritizing, by the determined risk, the plurality of potential cyber

               vulnerabilities; and

                      reporting the determined plurality of potential cyber vulnerabilities as alerts

               prioritized according to the determined risk.

       151.    On information and belief, Wiz practices each and every limitation of claim 1 of

the ’809 patent by and through the use of Wiz’s CSP and/or other similar products or services for

Wiz’s clients or customers.

       152.    The preamble of claim 1 recites “[a] method for securing virtual cloud assets against

cyber vulnerabilities in a cloud computing environment, the method comprising . . . .” To the

extent the preamble is limiting, Wiz practices this step by, for example, using Wiz’s CSP to detect

cyber vulnerabilities in cloud computing environments and secure virtual cloud assets within those

environments against said vulnerabilities.         See, e.g., https://www.wiz.io/solutions/cnapp

(advertising that Wiz “identif[ies] and remediate[s] risks and respond[s] to threats in [] cloud

environments”);               https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-

vulnerabilities-kev-with-wiz (“Detect and prioritize CISA Known Exploited Vulnerabilities in the

cloud with Wiz”).




                                                 71
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 72 of 130 PageID #: 669




       153.    Claim 1 further recites “determining, using an API or service provided by the cloud

computing environment, a location of a snapshot of at least one virtual disk of a protected virtual

cloud asset, wherein the protected virtual cloud asset is instantiated in the cloud computing

environment . . . .” Wiz’s public presentations and technical documentation confirm that Wiz

practices this step by, for example, using Wiz’s CSP to perform “[a]gentless scanning via API” or

services provided by AWS, GCP, and Azure, among other cloud computing environments.




See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

Google Cloud Platform (GCP)). Wiz’s technical documentation confirms that its agentless

scanning includes “snapshot scanning” of instantiated virtual cloud assets, wherein Wiz “takes a

snapshot of each VM system volume and analyzes its operating system, application layer, and data

layer statically with no performance impact.” Exhibit 6 at 4, 2 (“Wiz scans all the resources and

workloads in your cloud environment using a unique snapshot technology that covers more than

an agent can.”); Exhibit 11 (“Wiz connects to your cloud environment via your cloud service

provider’s    APIs   in   order   to   extract   metadata   and    perform    snapshot    scans.”);



                                                 72
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 73 of 130 PageID #: 670




https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics            (same);     Exhibit     12         (same);

https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

deployment, continuously assess workloads without deploying agents”).

        154.    Claim 1 further recites “accessing, based on the determined location and using an

API or service provided by the cloud computing environment, the snapshot of the virtual disk . . . .”

Wiz performs this step by, for example, accessing the snapshot of a virtual disk in order to

“analyze[] [the] operating system, application layer, and data layer” of virtual cloud assets. See

Exhibit 6 at 4, 3 (Wiz “[s]cans the workloads inside the container to determine . . . its

vulnerabilities”).   Wiz’s technical documentation explains that “Wiz connects to [a] cloud

environment via [a] cloud service provider’s APIs in order to extract metadata and perform

snapshot                   scans.”                                     Exhibit                   11;

https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics (same); Exhibit 12 (same).

        155.    Claim 1 further recites “analyzing the snapshot of the at least one virtual disk by

matching installed applications with applications on a known list of vulnerable applications . . . .”

Wiz practices this step by, for example, analyzing the snapshot of a virtual disk by matching

installed applications to a known list of vulnerabilities in the “CISA Known Exploited

Vulnerability (KEV) Catalog,” which is “a catalog of known exploited vulnerabilities that carry

significant risk,” including “vulnerabilities in . . . proprietary applications.”                See

https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-

wiz.




                                                 73
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 74 of 130 PageID #: 671




https://www.wiz.io/solutions/vulnerability-management.

          156.   Claim 1 further recites “determining, based on the matching, an existence of a

plurality of potential cyber vulnerabilities . . . .” Wiz practices this step because, for example, it

uses results of matching installed applications to “list[] all the resources . . . that are currently

vulnerable to one or more vulnerabilities in the catalog.” See https://www.wiz.io/blog/detect-and-

prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz.




See id.




                                                 74
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 75 of 130 PageID #: 672




See also Exhibit 5 at 27.

       157.    Claim 1 further recites “correlating the determined potential cyber vulnerabilities

with a network location of the protected virtual cloud asset . . . .” Wiz practices this step because,

for example, Wiz “correlates vulnerabilities to other risk factors such as public exposure.”




                                                 75
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 76 of 130 PageID #: 673




https://www.youtube.com/watch?v=GP0NWZa_7vk at 1:00.




See Exhibit 5 at 14, 11 (showing vulnerabilities corresponding to network locations of virtual cloud

assets).




                                                76
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 77 of 130 PageID #: 674




See also Exhibit 6 at 3 (showing vulnerability correlated with a Jenkins container in the network).

       158.    Claim 1 further recites “using the determined plurality of potential cyber

vulnerabilities and the network location of the protected virtual cloud asset to determine a risk of

the protected virtual cloud asset to the cloud computing environment . . . .” Wiz practices this step

because, for example, Wiz determines the risk of virtual cloud assets to the cloud computing

environment based on the determined cyber vulnerabilities and network locations of the virtual

cloud asset.




                                                 77
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 78 of 130 PageID #: 675




https://www.youtube.com/watch?v=GP0NWZa_7vk at 1:00.




Id.at 1:17.




                                        78
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 79 of 130 PageID #: 676




See Exhibit 5 at 14, 11 (showing vulnerabilities corresponding to network locations of virtual cloud

assets). Wiz “[p]riotize[s] risk and attack paths to critical assets” within the cloud computing

environment based on detected vulnerabilities and the network locations, including “external

exposure.”




                                                79
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 80 of 130 PageID #: 677




See, e.g., id. at 17; Exhibit 6 at 3 (“Scan for vulnerable and unpatched operating systems, installed

software,     and    code     libraries   in    your     workloads      prioritized    by    risk.”);

https://www.wiz.io/solutions/cnapp (“The Wiz Security Graph immediately uncovers the toxic

combinations that create attack paths in your cloud and eliminates the need for manual work of

sifting through and analyzing siloed alerts.”); https://www.wiz.io/solutions/vulnerability-

management (“Contextual Risk-Based Prioritization Reduce alert fatigue by correlating

vulnerabilities with multiple risk factors, including external exposure, cloud entitlements, secrets,

misconfigurations, malware, and more, to surface the vulnerabilities that should be prioritized.”).

       159.    Claim 1 further recites “prioritizing, by the determined risk, the plurality of

potential cyber vulnerabilities . . . .” Wiz performs this step by, for example, “prioritiz[ing] and

mitigat[ing] the critical risks.” See https://www.wiz.io/blog/detect-and-prioritize-cisa-known-

exploited-vulnerabilities-kev-with-wiz.    Wiz also prioritizes cyber vulnerabilities based on

determined risk as shown below.




                                                 80
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 81 of 130 PageID #: 678




https://www.youtube.com/watch?v=GP0NWZa_7vk at 0:47.




Id. at 1:17.




                                        81
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 82 of 130 PageID #: 679




https://www.wiz.io/solutions/vulnerability-management; see also Exhibit 5 at 27 (same).




https://www.wiz.io/solutions/cnapp; see also Exhibit 5 at 17, 27.




                                               82
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 83 of 130 PageID #: 680




https://www.wiz.io/solutions/vulnerability-management.

       160.    Claim 1 further recites “reporting the determined plurality of potential cyber

vulnerabilities as alerts prioritized according to the determined risk.” Wiz performs this step by,

for example, reporting “Vulnerabilit[ies],” prioritized according to risk.




                                                 83
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 84 of 130 PageID #: 681




See      https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-

with-wiz; see also Exhibit 5 at 27 (prioritizing vulnerabilities).




https://www.wiz.io/solutions/vulnerability-management.

       161.    As described in the preceding paragraphs, Wiz practices each limitation of claim 1

of the ’809 patent, either literally or under the doctrine of equivalents.

       162.    The above examples of how Wiz directly infringes claim 1 of the ’809 patent are

non-limiting and based on information currently available to Orca. In particular, additional or

different aspects of Wiz’s products or services may be identified that meet the limitations of

claim 1 of the ’809 patent, additional claims of the ’809 patent may be determined to be infringed,

and additional Wiz products or services may be identified as infringing once additional nonpublic

information is provided through the course of discovery.




                                                  84
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 85 of 130 PageID #: 682




       (b)     Induced Infringement of the ’809 Patent

       163.    On information and belief, in providing Wiz’s CSP to its customers, Wiz has

induced, and continues to induce, direct infringement of one or more claims of the ’809 patent,

including at least claim 1, literally and/or under the doctrine of equivalents pursuant to 35 U.S.C.

§ 271(b).

       164.    On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’809 patent and its infringement thereof when the ’809 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

knowledge of the ’809 patent’s parent application, U.S. Patent Application No. 16/585,967 and its

provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’809 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

September 12, 2023, Orca notified Wiz of its infringement of the ’809 patent through a cease-and-

desist letter, attached hereto as Exhibit 10. Accordingly, Wiz has had knowledge of the ’809 patent

since at least September 12, 2023. In any event, Wiz has had knowledge of the ’809 patent and its

infringement thereof since at least as early as the filing of the First Amended Complaint on

September 15, 2023.

       165.    On information and belief, Wiz possesses a specific intent to induce infringement

by, at a minimum, providing user guides, instructions, sales-related material, and/or other

supporting documentation, and by way of advertising, solicitation, and provision of product

instruction materials, that instruct its customers on the normal operation of Wiz’s CSP in a manner


                                                  85
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 86 of 130 PageID #: 683




that infringes one or more claims of the ’809 patent, including at least claim 1 of the ’809 patent,

or, in the alternative, Wiz believed there was a high probability that the acts of its customers would

infringe one or more claims of the ’809 patent, including at least claim 1, and took deliberate steps

to avoid learning of that infringement.

       166.    Wiz’s specific intent to induce is demonstrated by its public instructions and other

documentation. For example, in a video titled “Wiz for Vulnerability Management,” posted by

Wiz on August 11, 2023, Wiz specifically instructs users on how to use Wiz’s platform to perform

“agentless vulnerability scanning across every layer of your cloud environment,” identify “the

threats you need to pay attention to right now . . . and what resources are at risk,” and “generate a

vulnerability report” in a manner specifically intended to infringe at least claim 1 of the ’809

patent. See, e.g., https://www.youtube.com/watch?v=GP0NWZa_7vk at 0:05, 1:50, 2:00 (“Wiz

for Vulnerability Management Demo” (Aug. 11, 2023)) (last accessed Oct. 10, 2023); see also

https://www.youtube.com/watch?v=a8l9zIQUoVI (“Wiz for CSPM Demo” (Aug. 11, 2023)) (last

accessed Oct. 10, 2023).

       167.    Wiz’s specific intent to induce infringement is also demonstrated by its actions

since receiving the cease-and-desist letter on September 12, 2023 and since the filing of the First

Amended Complaint on September 15, 2023. As of October 10, 2023, despite the disclosure of

its infringement in the cease-and-desist letter and First Amended Complaint, Wiz still maintains

many of the same pages on its website instructing its customers and potential customers on how

the Wiz CSP can be used to infringe the ’809 patent that were identified in Appendix F to the

cease-and-desist letter and in the First Amended Complaint. See, e.g., Exhibit 10 at Appendix F;

First Amended Complaint ¶¶ 140-153; https://www.wiz.io/ (last accessed Oct. 10, 2023);

https://www.wiz.io/product (last accessed Oct. 10, 2023); https://www.wiz.io/solutions/cnapp




                                                 86
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 87 of 130 PageID #: 684




(last accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-and-prioritize-cisa-known-

exploited-vulnerabilities-kev-with-wiz         (last       accessed        Oct.        10,         2023);

https://www.wiz.io/solutions/vulnerability-management         (last   accessed     Oct.      10,   2023);

https://www.youtube.com/watch?v=GP0NWZa_7vk (last accessed Oct. 10, 2023).

       168.    In addition, after receiving the cease-and-desist letter and after the filing of the First

Amended Complaint, Wiz published an article on September 28, 2023 specifically instructing

users how Wiz “can help organizations to identify, prioritize, and remediate vulnerabilities across

their cloud environments quickly and effectively with the following capabilities,” including

through “[a]gentless scanning,” “[c]ontinuous scanning,” “[d]eep contextual assessments,” and

“[r]isk-based prioritization” in a manner intended to infringe at least claim 1 of the ’809 patent.

See, e.g., https://www.wiz.io/academy/vulnerability-management-best-practices (Sept. 28, 2023)

(last accessed Oct. 10, 2023); see also https://www.wiz.io/academy/cloud-security-best-practices

(Sept. 20, 2023) (last accessed Oct. 10, 2023).

       (c)     Contributory Infringement of the ’809 Patent

       169.    On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’809 patent and its infringement thereof when the ’809 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

knowledge of the ’809 patent’s parent application, U.S. Patent Application No. 16/585,967, and

its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’809 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on


                                                  87
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 88 of 130 PageID #: 685




September 12, 2023, Orca notified Wiz of its infringement of the ’809 patent through a cease-and-

desist letter, attached hereto as Exhibit 10. In any event, Wiz has had knowledge of the ’809 patent

and its infringement thereof since at least as early as the filing of the First Amended Complaint on

September 15, 2023.

       170.    By providing Wiz’s CSP to its customers, Wiz has in the past contributed, and

continues to contribute, to the direct infringement of one or more claims of the ’809 patent, literally

and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 271(c), including at least

claim 1 of the ’809 patent. Wiz has contributorily infringed and continues to contribute to the

infringement of one or more claims of the ’809 patent by offering to sell or selling Wiz’s CSP,

which is a patented component, constituting a material part of the invention, knowing the same to

be especially made or especially adapted for use in an infringement and not a staple article or

commodity of commerce suitable for substantial non-infringing use.

       171.    Wiz’s CSP, or any further component parts thereof, is not a staple article of

commerce and has no substantial non-infringing use. On information and belief, Wiz’s CSP

cannot operate without incorporating technology claimed by the claims of the ’809 patent.

Specifically, as described above, Wiz’s user guides, instructions, sales-related material, and/or

other supporting documentation state that Wiz’s CSP is intended to be used to perform agentless

scanning of virtual assets in a client environment through snapshot scanning using an API provided

by the cloud environment, determine a location of a snapshot of a virtual disk of a virtual asset and

access the snapshot, analyze the snapshot by matching installed applications to a known list of

vulnerabilities (such as vulnerabilities in the CISA KEV Catalog), determine potential

vulnerabilities based on the matching and correlate those vulnerabilities with a network location

of the virtual asset, and to prioritize and report potential vulnerabilities based on their determined




                                                  88
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 89 of 130 PageID #: 686




risk, as claimed in the claims of the ’809 patent. See, e.g., Exhibit 4 at 1-2; Exhibit 5 at 11-23;

Exhibit 6; https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-

kev-with-wiz. Its documentation does not advertise or otherwise suggest that Wiz’s CSP is a staple

article of commerce or has a substantial non-infringing use. See generally Exhibit 5; Exhibit 6.

Furthermore, when used as shown in Wiz’s documentation, Wiz’s CSP directly infringes claims

of the ’809 patent as described above in Paragraphs 149-162.

       172.     On information and belief, Wiz has continued to contributorily infringe in the same

way as set forth in the preceding paragraphs since receiving the cease-and-desist letter on

September 12, 2023 and since the filing of the First Amended Complaint on September 15, 2023.

As of October 10, 2023, despite the disclosure of its infringement in the cease-and-desist letter and

First Amended Complaint, Wiz still maintains many of the same pages on its website that were

referenced in Appendix F to the cease-and-desist letter and in the First Amended Complaint and

are referenced herein. See, e.g., Exhibit 10 at Appendix F; First Amended Complaint ¶¶ 140-153;

https://www.wiz.io/ (last accessed Oct. 10, 2023); https://www.wiz.io/product (last accessed

Oct. 10,     2023);   https://www.wiz.io/solutions/cnapp      (last   accessed    Oct.   10,    2023);

https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz

(last accessed Oct. 10, 2023); https://www.wiz.io/solutions/vulnerability-management (last

accessed Oct. 10, 2023); https://www.youtube.com/watch?v=GP0NWZa_7vk (last accessed

Oct. 10, 2023).

       (d)      Willful Infringement of the ’809 Patent

       173.     On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

the ’809 patent and its infringement thereof when the ’809 patent issued or soon thereafter at least

as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had


                                                  89
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 90 of 130 PageID #: 687




knowledge of the ’809 patent’s parent application, U.S. Patent Application No. 16/585,967, and

its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

descriptions as those found in the ’809 patent, and, on information and belief, these figures in

Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

September 12, 2023, Orca notified Wiz of its infringement of the ’809 patent through a cease-and-

desist letter, attached hereto as Exhibit 10. In any event, Wiz has had knowledge of the ’809 patent

and its infringement thereof since at least as early as the filing of the First Amended Complaint on

September 15, 2023.

       174.    Wiz’s intentional and deliberate infringement is also demonstrated by its actions

since receiving the cease-and-desist letter on September 12, 2023 and since the filing of the First

Amended Complaint on September 15, 2023, which show a continuing willful, deliberate, and

consciously wrongful intent to infringe the ’809 patent. As of October 10, 2023, despite the

disclosure of its infringement in the cease-and-desist letter and First Amended Complaint, Wiz

still maintains many of the same pages on its website identified in Appendix F to the cease-and-

desist letter and in the First Amended Complaint describing Wiz’s infringement of the ’809 patent.

See, e.g., Exhibit 10 at Appendix F; First Amended Complaint ¶¶ 140-153; https://www.wiz.io/

(last accessed Oct. 10, 2023); https://www.wiz.io/product (last accessed Oct. 10, 2023);

https://www.wiz.io/solutions/cnapp (last accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-

and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz (last accessed Oct. 10, 2023);

https://www.wiz.io/solutions/vulnerability-management       (last   accessed   Oct.    10,   2023);

https://www.youtube.com/watch?v=GP0NWZa_7vk (last accessed Oct. 10, 2023).




                                                90
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 91 of 130 PageID #: 688




         175.   Wiz also published an article on September 28, 2023, describing how Wiz

continues to use its Wiz CSP to “identify, prioritize, and remediate vulnerabilities across their

cloud environments quickly and effectively with the following capabilities,” including through

“[a]gentless scanning,” “[c]ontinuous scanning,” “[d]eep contextual assessments,” and “[r]isk-

based prioritization” in a manner that demonstrates a conscious disregard for Orca’s rights in the

inventions claimed in the ’809 patent.      See, e.g., https://www.wiz.io/academy/vulnerability-

management-best-practices (Sept. 28, 2023) (last accessed Oct. 10, 2023); see also

https://www.wiz.io/academy/cloud-security-best-practices (Sept. 20, 2023) (last accessed Oct. 10,

2023).

         176.   Wiz’s infringement has been and continues to be intentional and deliberate,

entitling Orca to enhanced damages under 35 U.S.C. § 284 and a finding that this case is

exceptional, entitling Orca to an award of reasonable attorneys’ fees under 35 U.S.C. § 285.

         177.   On information and belief, Wiz has profited from and will continue to profit from

its infringing activities. Orca has been and will continue to be damaged and irreparably harmed

by Wiz’s infringing activities. As a result, Orca is entitled to injunctive relief and damages

adequate to compensate it for such infringement, in no event less than a reasonable royalty, in

accordance with 35 U.S.C. §§ 271, 281, 283, and 284. The full amount of monetary damages

Wiz’s acts of infringement have caused to Orca cannot be determined without an accounting.

         178.   The harm to Orca from Wiz’s ongoing infringing activity is irreparable, continuing,

and not fully compensable by money damages, and will continue unless Wiz’s infringing activities

are enjoined.

                                    COUNT V
                         (INFRINGEMENT OF THE ’926 PATENT)

         179.   Orca incorporates all other allegations in this Second Amended Complaint.



                                                91
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 92 of 130 PageID #: 689




        180.    The ’926 patent is entitled “Techniques for Securing Virtual Machines by

Analyzing Data for Cyber Threats” and was duly and legally issued on August 29, 2023. A true

and correct copy of the ’926 patent is attached hereto as Exhibit 9.

        181.    Orca is the owner of all rights, title, and interest in the ’926 patent.

        182.    The ’926 patent is valid and enforceable.

        183.    The inventions claimed in the ’926 patent improved on prior art cloud security

systems and methods by, inter alia, accessing the snapshot of at least one virtual disk, analyzing

the snapshot to determine the existence of potential cyber threats based on data stored on the virtual

disk, determining a risk associated with each of the determined potential cyber threats, and

prioritizing the potential cyber threats based on the determined risk. See, e.g., ’926 patent at cls. 1-

15. This snapshot-based analysis for potential cyber threats was not well understood, routine, or

conventional. It is an inventive concept that allows, for example, practical implementations of

agentless inspection, analysis, and protection of virtual cloud assets in cloud computing

environments because, among other things, sensitive data stored on virtual disks can be analyzed

without requiring any interaction and/or information from an online virtual asset, unlike agent-

based or network scanner solutions. This improves ease of implementation and reduces costs,

including cost of licensing, deployment, integration, training, and support. Furthermore, the

snapshot analysis provided in the claims of the ’926 patent achieved more comprehensive detection

and prioritization of potential cyber threats because it allowed for myriad kinds of data stored on

virtual assets in a cloud computing environment to be analyzed for related potential cyber threats

without requiring an agent or interaction with running virtual assets.

        (a)     Direct Infringement of the ’926 Patent

        184.    Wiz, without authorization, directly infringes one or more claims of the ’926 patent,

literally and/or under the doctrine of equivalents. Wiz infringes under 35 U.S.C. § 271 including,


                                                   92
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 93 of 130 PageID #: 690




without limitation, 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing

within the United States without authority, Wiz’s CSP and other similar products or services,

which includes (or is otherwise referred to) but is not limited to Wiz’s CNAPP, CSPM, CIEM,

DSPM, IaC scanning, and CDR platforms and/or features. See https://www.wiz.io/; see also

https://www.wiz.io/product. Wiz’s infringement includes infringement of, for example, claim 1

of the ’926 patent.

       185.    Claim 1 of the ’926 patent recites:

               1. A method for securing virtual cloud assets against cyber threats in a cloud

       computing environment, the method comprising:

                        receiving a request to scan a protected virtual cloud asset in the cloud

               computing environment;

                        locating, using an API or service provided by the cloud computing

               environment, a snapshot of at least one virtual disk of the protected virtual cloud

               asset;

                        accessing, using an API or service provided by the cloud computing

               environment, the snapshot of the at least one virtual disk;

                        analyzing the snapshot of the at least one virtual disk to determine the

               existence of a plurality of potential cyber threats, each cyber threat based on data

               stored on the virtual disk, wherein the data includes at least one of:

                               unencrypted sensitive data,

                               unencrypted system credentials,

                               weak passwords,

                               weak encryption schemes,




                                                 93
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 94 of 130 PageID #: 691




                              disabled Address Space Layout Randomization,

                              boot record manipulation,

                              suspicious definitions,

                              services to be run on startup,

                              personally identifiable information,

                              data in application logs indicating that the protected virtual cloud

                      asset accessed personally identifiable information,

                              data in application logs indicating that the protected virtual cloud

                      asset accessed a computer containing personally identifiable information,

                      or

                              at least one change in at least one area of the virtual disk, as

                      compared to an earlier point in time;

                      determining a risk associated with each of the determined plurality of

              potential cyber threats;

                      prioritizing the potential cyber threats associated with the protected virtual

              cloud asset based on the determined risk associated with each of the plurality of

              potential cyber threats; and

                      reporting at least some of the determined plurality of potential cyber threats

              as alerts prioritized according to their associated risks.

       186.   On information and belief, Wiz practices each and every limitation of claim 1 of

the ’926 patent by and through the use of Wiz’s CSP and/or other similar products or services for

Wiz’s clients or customers.




                                                94
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 95 of 130 PageID #: 692




       187.    The preamble of claim 1 recites “[a] method for securing virtual cloud assets against

cyber threats in a cloud computing environment, the method comprising . . . .” To the extent the

preamble is limiting, Wiz practices this step by, for example, using Wiz’s CSP to detect cyber

threats in cloud computing environments and secure virtual cloud assets within those environments

against said threats.    See, e.g., https://www.wiz.io/solutions/cnapp (advertising that Wiz

“identif[ies] and remediate[s] risks and respond[s] to threats in [] cloud environments”).

       188.    Claim 1 further recites “receiving a request to scan a protected virtual cloud asset

in the cloud computing environment . . . .” Wiz’s public presentations and technical documentation

confirm that Wiz practices this step by, for example, receiving requests to perform an “agentless

scan” of “workloads” in an organization’s cloud computing environment.




See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

GCP). Wiz states that in response to the requests, Wiz “connects within minutes with zero impact

on resource or workload performance” and “builds an inventory of every technology running in




                                                95
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 96 of 130 PageID #: 693




your cloud and delivers complete visibility into every layer of your cloud stack.”              See

https://www.datocms-assets.com/75231/1682034689-wiz-solution-brief-march-2023.pdf.

       189.    Claim 1 further recites “locating, using an API or service provided by the cloud

computing environment, a snapshot of at least one virtual disk of the protected virtual cloud asset

. . . .” Wiz’s public presentations and technical documentation confirm that Wiz practices this step

by, for example, using Wiz’s CSP to perform “agentless scanning via API” provided by AWS,

GCP, and Azure, among other cloud computing environments.




See Exhibit 5 at 13 (“Full visibility in minutes . . . without agents”); Exhibit 6 (supported cloud

computing platforms include AWS, Azure, and GCP). Wiz’s technical documentation confirms

that its agentless scanning includes “snapshot scanning” of virtual cloud assets, wherein Wiz’s

CSP “takes a snapshot of each VM system volume and analyzes its operating system, application

layer, and data layer statistically with no performance impact.” Exhibit 6 at 4, 2 (“Wiz scans all

the resources and workloads in your cloud environment using a unique snapshot technology that

covers more than an agent can.”); Exhibit 11 (“Wiz connects to your cloud environment via your



                                                96
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 97 of 130 PageID #: 694




cloud service provider’s APIs in order to extract metadata and perform snapshot scans.”);

https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics              (same);      Exhibit       12      (same);

https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

deployment, continuously assess workloads without deploying agents”).

       190.    Claim 1 further recites “accessing, using an API or service provided by the cloud

computing environment, the snapshot of the at least one virtual disk . . . .” Wiz performs this step

by, for example, accessing the snapshot of a virtual disk in order to “analyze[] [the] operating

system, application layer, and data layer” of virtual cloud assets. See Exhibit 6 at 4. Wiz’s

technical documentation explains that “Wiz connects to [a] cloud environment via [a] cloud service

provider’s APIs in order to extract metadata and perform snapshot scans.” Exhibit 11;

https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

us/articles/5449816387100-AWS-Connector-Basics (same); Exhibit 12 (same).

       191.    Claim 1 further recites “analyzing the snapshot of the at least one virtual disk to

determine the existence of a plurality of potential cyber threats, each cyber threat based on data

stored on the virtual disk, wherein the data includes at least one of: unencrypted sensitive data,

unencrypted system credentials, weak passwords, weak encryption schemes, disabled Address

Space Layout Randomization, boot record manipulation, suspicious definitions, services to be run

on startup, personally identifiable information, data in application logs indicating that the protected

virtual cloud asset accessed personally identifiable information, data in application logs indicating

that the protected virtual cloud asset accessed a computer containing personally identifiable

information, or at least one change in at least one area of the virtual disk, as compared to an earlier

point in time . . . .” Wiz practices this step by, for example, analyzing the snapshot for threats




                                                  97
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 98 of 130 PageID #: 695




embodied in data stored on the virtual disk like “personally identifiable information” and “weak

passwords.” See, e.g., https://www.wiz.io/solutions/ciem (“[I]dentify potential risks associated

with     exposed      secrets,    access     keys,      credentials,    or     weak        passwords.”);

https://www.wiz.io/solutions/dspm            (“Discover          your          sensitive         data”);

https://www.wiz.io/blog/hardening-your-cloud-environment-against-lapsus-like-threat-actor

(“With Wiz, you can easily locate . . . particularly weak or empty passwords”).

        192.    Claim 1 further recites “determining a risk associated with each of the determined

plurality of potential cyber threats . . . .” Wiz practices this step by, for example, determining risks

associated with data security and “sensitive data issues.”




https://www.wiz.io/solutions/dspm (“Data risk prioritization Focus your teams on what is critical

with a single prioritized queue of data issues ranked by severity and type”); see also id. (“With

fully integrated DSPM, the Wiz Security Graph automatically alerts you when toxic combinations




                                                  98
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 99 of 130 PageID #: 696




of risks create attack paths to your sensitive data so your teams can focus on the highest priority

issues before they become breaches.”).

       193.    Claim 1 further recites “prioritizing the potential cyber threats associated with the

protected virtual cloud asset based on the determined risk associated with each of the plurality of

potential cyber threats . . . .” Wiz practices this step by, for example, prioritizing data security

issues associated with virtual cloud assets based on risk shown in its “Data Security” dashboard:




https://www.wiz.io/solutions/dspm (“Data risk prioritization Focus your teams on what is critical

with a single prioritized queue of data issues ranked by severity and type”).

       194.    Claim 1 further recites “reporting at least some of the determined plurality of

potential cyber threats as alerts prioritized according to their associated risks.” Wiz practices this

step by, for example, reporting at least some of the determined plurality of potential cyber threats

as alerts as shown in its “Data Security” dashboard that displays a “prioritized queue of data issues

ranked by severity and type.”



                                                 99
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 100 of 130 PageID #: 697




 https://www.wiz.io/solutions/dspm (“Data risk prioritization Focus your teams on what is critical

 with a single prioritized queue of data issues ranked by severity and type”).

        195.    As described in the preceding paragraphs, Wiz practices each limitation of claim 1

 of the ’926 patent, either literally or under the doctrine of equivalents.

        196.    The above examples of how Wiz directly infringes claim 1 of the ’926 patent are

 non-limiting and based on information currently available to Orca. In particular, additional or

 different aspects of Wiz’s products or services may be identified that meet the limitations of

 claim 1 of the ’926 patent, additional claims of the ’926 patent may be determined to be infringed,

 and additional Wiz products or services may be identified as infringing once additional nonpublic

 information is provided through the course of discovery.

        (b)     Induced Infringement of the ’926 Patent

        197.    On information and belief, in providing Wiz’s CSP to its customers, Wiz has

 induced, and continues to induce, direct infringement of one or more claims of the ’926 patent,



                                                  100
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 101 of 130 PageID #: 698




 including at least claim 1, literally and/or under the doctrine of equivalents pursuant to 35 U.S.C.

 § 271(b).

        198.    On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

 the ’926 patent and its infringement thereof when the ’926 patent issued or soon thereafter at least

 as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

 above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

 knowledge of the ’926 patent’s parent application, U.S. Patent Application No. 16/585,967 and its

 provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

 prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

 described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

 descriptions as those found in the ’926 patent, and, on information and belief, these figures in

 Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

 September 12, 2023, Orca notified Wiz of its infringement of the ’926 patent through a cease-and-

 desist letter, attached hereto as Exhibit 10. Accordingly, Wiz has had knowledge of the ’926 patent

 since at least September 12, 2023. In any event, Wiz has had knowledge of the ’926 patent and its

 infringement thereof since at least as early as the filing of the First Amended Complaint on

 September 15, 2023.

        199.    On information and belief, Wiz possesses a specific intent to induce infringement

 by, at a minimum, providing user guides, instructions, sales-related material, and/or other

 supporting documentation, and by way of advertising, solicitation, and provision of product

 instruction materials, that instruct its customers on the normal operation of Wiz’s CSP in a manner

 that infringes one or more claims of the ’926 patent, including at least claim 1 of the ’926 patent,

 or, in the alternative, Wiz believed there was a high probability that the acts of its customers would




                                                  101
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 102 of 130 PageID #: 699




 infringe one or more claims of the ’926 patent, including at least claim 1, and took deliberate steps

 to avoid learning of that infringement.

        200.    Wiz’s specific intent to induce is demonstrated by its public instructions and other

 documentation. For example, in a video titled “Wiz for Vulnerability Management,” posted by

 Wiz on August 11, 2023, Wiz specifically instructs users on how to use Wiz’s platform to perform

 “agentless vulnerability scanning across every layer of your cloud environment,” identify “the

 threats you need to pay attention to right now . . . and what resources are at risk,” and “generate a

 vulnerability report” in a manner specifically intended to infringe at least claim 1 of the ’926

 patent. See, e.g., https://www.youtube.com/watch?v=GP0NWZa_7vk at 0:05, 1:50, 2:00 (“Wiz

 for Vulnerability Management Demo” (Aug. 11, 2023)) (last accessed Oct. 10, 2023); see also

 https://www.youtube.com/watch?v=a8l9zIQUoVI (“Wiz for CSPM Demo” (Aug. 11, 2023)) (last

 accessed Oct. 10, 2023).

        201.    Wiz’s specific intent to induce infringement is also demonstrated by its actions

 since receiving the cease-and-desist letter on September 12, 2023 and since the filing of the First

 Amended Complaint on September 15, 2023. As of October 10, 2023, despite the disclosure of

 its infringement in the cease-and-desist letter and First Amended Complaint, Wiz still maintains

 many of the same pages on its website instructing its customers and potential customers on how

 the Wiz CSP can be used to infringe the ’926 patent that were identified in Appendix G to the

 cease-and-desist letter and in the First Amended Complaint. See, e.g., Exhibit 10 at Appendix G;

 First Amended Complaint ¶¶ 170-182; https://www.wiz.io/ (last accessed Oct. 10, 2023);

 https://www.wiz.io/product (last accessed Oct. 10, 2023); https://www.wiz.io/solutions/cnapp

 (last accessed Oct. 10, 2023); https://www.wiz.io/solutions/vulnerability-management (last

 accessed Oct. 10, 2023); https://www.wiz.io/solutions/ciem (last accessed Oct. 10, 2023);




                                                 102
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 103 of 130 PageID #: 700




 https://www.wiz.io/solutions/dspm           (last         accessed        Oct.        10,        2023);

 https://www.wiz.io/blog/hardening-your-cloud-environment-against-lapsus-like-threat-actor (last

 accessed Oct. 10, 2023).

        202.    In addition, after receiving the cease-and-desist letter and after the filing of the First

 Amended Complaint, Wiz published an article on September 28, 2023 specifically instructing

 users how Wiz “can help organizations to identify, prioritize, and remediate vulnerabilities across

 their cloud environments quickly and effectively with the following capabilities,” including

 through “[a]gentless scanning,” “[c]ontinuous scanning,” “[d]eep contextual assessments,” and

 “[r]isk-based prioritization” in a manner intended to infringe at least claim 1 of the ’926 patent.

 See, e.g., https://www.wiz.io/academy/vulnerability-management-best-practices (Sept. 28, 2023)

 (last accessed Oct. 10, 2023); see also https://www.wiz.io/academy/cloud-security-best-practices

 (Sept. 20, 2023) (last accessed Oct. 10, 2023).

        (c)     Contributory Infringement of the ’926 Patent

        203.    On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

 the ’926 patent and its infringement thereof when the ’926 patent issued or soon thereafter at least

 as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

 above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

 knowledge of the ’926 patent’s parent application, U.S. Patent Application No. 16/585,967, and

 its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

 prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

 described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

 descriptions as those found in the ’926 patent, and, on information and belief, these figures in

 Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

 September 12, 2023, Orca notified Wiz of its infringement of the ’926 patent through a cease-and-


                                                     103
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 104 of 130 PageID #: 701




 desist letter, attached hereto as Exhibit 10. In any event, Wiz has had knowledge of the ’926 patent

 and its infringement thereof since at least as early as the filing of the First Amended Complaint on

 September 15, 2023.

        204.    By providing Wiz’s CSP to its customers, Wiz has in the past contributed, and

 continues to contribute, to the direct infringement of one or more claims of the ’926 patent, literally

 and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 271(c), including at least

 claim 1 of the ’926 patent. Wiz has contributorily infringed and continues to contribute to the

 infringement of one or more claims of the ’926 patent by offering to sell or selling Wiz’s CSP,

 which is a patented component, constituting a material part of the invention, knowing the same to

 be especially made or especially adapted for use in an infringement and not a staple article or

 commodity of commerce suitable for substantial non-infringing use.

        205.    Wiz’s CSP, or any further component parts thereof, is not a staple article of

 commerce and has no substantial non-infringing use. On information and belief, Wiz’s CSP

 cannot operate without incorporating technology claimed by the claims of the ’926 patent.

 Specifically, as described above, Wiz’s user guides, instructions, sales-related material, and/or

 other supporting documentation state that Wiz’s CSP is intended to be used to receive requests to

 scan a virtual cloud asset in a cloud computing environment through agentless scanning using an

 API provided by the cloud environment, locate and access a snapshot of a virtual disk to analyze

 the snapshot for potential threats based on data stored on the virtual disk, and to prioritize and

 report potential threats based on their determined risk, as claimed in the claims of the ’926 patent.

 See, e.g., Exhibit 4 at 1-2; Exhibit 5 at 11-23; Exhibit 6. Its documentation does not advertise or

 otherwise suggest that Wiz’s CSP is a staple article of commerce or has a substantial non-

 infringing use. See generally Exhibit 5; Exhibit 6. Furthermore, when used as shown in Wiz’s




                                                  104
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 105 of 130 PageID #: 702




 documentation, Wiz’s CSP directly infringes claims of the ’926 patent as described above in

 Paragraphs 184-196.

        206.     On information and belief, Wiz has continued to contributorily infringe in the same

 way as set forth in the preceding paragraphs since receiving the cease-and-desist letter on

 September 12, 2023 and since the filing of the First Amended Complaint on September 15, 2023.

 As of October 10, 2023, despite the disclosure of its infringement in the cease-and-desist letter and

 First Amended Complaint, Wiz still maintains many of the same pages on its website that were

 referenced in Appendix G to the cease-and-desist letter and in the First Amended Complaint and

 are referenced herein. See, e.g., Exhibit 10 at Appendix G; First Amended Complaint ¶¶ 170-182;

 https://www.wiz.io/ (last accessed Oct. 10, 2023); https://www.wiz.io/product (last accessed

 Oct. 10,     2023);   https://www.wiz.io/solutions/cnapp       (last   accessed   Oct.     10,   2023);

 https://www.wiz.io/solutions/vulnerability-management          (last   accessed   Oct.     10,   2023);

 https://www.wiz.io/solutions/ciem           (last         accessed       Oct.        10,         2023);

 https://www.wiz.io/solutions/dspm           (last         accessed        Oct.       10,         2023);

 https://www.wiz.io/blog/hardening-your-cloud-environment-against-lapsus-like-threat-actor (last

 accessed Oct. 10, 2023).

        (d)      Willful Infringement of the ’926 Patent

        207.     On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

 the ’926 patent and its infringement thereof when the ’926 patent issued or soon thereafter at least

 as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

 above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

 knowledge of the ’926 patent’s parent application, U.S. Patent Application No. 16/585,967, and

 its provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

 prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As


                                                     105
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 106 of 130 PageID #: 703




 described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

 descriptions as those found in the ’926 patent, and, on information and belief, these figures in

 Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

 September 12, 2023, Orca notified Wiz of its infringement of the ’926 patent through a cease-and-

 desist letter, attached hereto as Exhibit 10. In any event, Wiz has had knowledge of the ’926 patent

 and its infringement thereof since at least as early as the filing of the First Amended Complaint on

 September 15, 2023.

        208.    Wiz’s intentional and deliberate infringement is also demonstrated by its actions

 since receiving the cease-and-desist letter on September 12, 2023 and since the filing of the First

 Amended Complaint on September 15, 2023, which show a continuing willful, deliberate, and

 consciously wrongful intent to infringe the ’926 patent. As of October 10, 2023, despite the

 disclosure of its infringement in the cease-and-desist letter and First Amended Complaint, Wiz

 still maintains many of the same pages on its website identified in Appendix G to the cease-and-

 desist letter and in the First Amended Complaint describing Wiz’s infringement of the ’926 patent.

 See, e.g., Exhibit 10 at Appendix G; First Amended Complaint ¶¶ 170-182; https://www.wiz.io/

 (last accessed Oct. 10, 2023); https://www.wiz.io/product (last accessed Oct. 10, 2023);

 https://www.wiz.io/solutions/cnapp         (last         accessed        Oct.      10,         2023);

 https://www.wiz.io/solutions/vulnerability-management         (last   accessed   Oct.    10,   2023);

 https://www.wiz.io/solutions/ciem         (last          accessed       Oct.       10,         2023);

 https://www.wiz.io/solutions/dspm          (last         accessed       Oct.       10,         2023);

 https://www.wiz.io/blog/hardening-your-cloud-environment-against-lapsus-like-threat-actor (last

 accessed Oct. 10, 2023).




                                                    106
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 107 of 130 PageID #: 704




          209.   Wiz also published an article on September 28, 2023, describing how Wiz

 continues to use its Wiz CSP to “identify, prioritize, and remediate vulnerabilities across their

 cloud environments quickly and effectively with the following capabilities,” including through

 “[a]gentless scanning,” “[c]ontinuous scanning,” “[d]eep contextual assessments,” and “[r]isk-

 based prioritization” in a manner that demonstrates a conscious disregard for Orca’s rights in the

 inventions claimed in the ’926 patent.      See, e.g., https://www.wiz.io/academy/vulnerability-

 management-best-practices (Sept. 28, 2023) (last accessed Oct. 10, 2023); see also

 https://www.wiz.io/academy/cloud-security-best-practices (Sept. 20, 2023) (last accessed Oct. 10,

 2023).

          210.   Wiz’s infringement has been and continues to be intentional and deliberate,

 entitling Orca to enhanced damages under 35 U.S.C. § 284 and a finding that this case is

 exceptional, entitling Orca to an award of reasonable attorneys’ fees under 35 U.S.C. § 285.

          211.   On information and belief, Wiz has profited from and will continue to profit from

 its infringing activities. Orca has been and will continue to be damaged and irreparably harmed

 by Wiz’s infringing activities. As a result, Orca is entitled to injunctive relief and damages

 adequate to compensate it for such infringement, in no event less than a reasonable royalty, in

 accordance with 35 U.S.C. §§ 271, 281, 283, and 284. The full amount of monetary damages

 Wiz’s acts of infringement have caused to Orca cannot be determined without an accounting.

          212.   The harm to Orca from Wiz’s ongoing infringing activity is irreparable, continuing,

 and not fully compensable by money damages, and will continue unless Wiz’s infringing activities

 are enjoined.

                                     COUNT VI
                          (INFRINGEMENT OF THE ’326 PATENT)

          213.   Orca incorporates all other allegations in this Second Amended Complaint.



                                                 107
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 108 of 130 PageID #: 705




        214.    The ’326 patent, entitled “Techniques for Securing a Plurality of Virtual Machines

 in a Cloud Computing Environment,” was duly and legally issued on October 3, 2023. A true and

 correct copy of the ’326 patent is attached hereto as Exhibit 14.

        215.    Orca is the owner of all rights, title, and interest in the ’326 patent.

        216.    The ’326 patent is valid and enforceable.

        217.    The inventions claimed in the ’326 patent improve on prior art systems by, inter

 alia, determining, using an API or service provided by the cloud computing environment, a

 location of a snapshot of at least one virtual disk of a respective protected virtual cloud asset,

 accessing, based on the determined location and using an API or service provided by the cloud

 computing environment, the snapshot of the at least one virtual disk, analyzing the snapshot of the

 at least one virtual disk to determine an existence of potential cyber vulnerabilities, and

 determining a risk associated with each of the determined potential cyber vulnerabilities. See, e.g.,

 ’326 patent at cls. 1-28. This novel analysis of snapshots for potential cyber vulnerabilities was

 not well understood, routine or conventional. It is an inventive concept that allows, for example,

 practical implementations of vulnerability detection for virtual cloud assets in large data centers

 because it does not require the cumbersome installation of agents. This reduces the costs of

 licensing, deployment, integration, training, and support for a cloud security platform.

 Additionally, analyzing snapshots as provided in the claims of the ’326 patent achieved

 unconventional performance, including (1) the ability to scan virtual cloud assets across an entire

 cloud environment in a matter of minutes compared to months-long installations of agent-based

 solutions, and (2) achieving comprehensive coverage and features that are not possible using

 agent-based approaches due to the tradeoff between performance and impact to the environment.




                                                  108
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 109 of 130 PageID #: 706




        218.    Additionally, the claims of the ’326 patent also recite inventive concepts for

 reporting the existence of potential cyber vulnerabilities on a plurality of virtual cloud assets, and

 prioritizing virtual cloud with the determined potential cyber vulnerabilities are prioritized based

 on associated risk levels to the cloud computing environment. Prioritizing virtual cloud assets

 with potential cyber vulnerabilities based on their risk level to a cloud computing environment

 improves on prior art techniques by putting virtual cloud assets in context. These unconventional

 technological improvements of the ’326 patent, including analyzing snapshots and prioritizing

 virtual cloud assets based on their risk level to the cloud environment, improve the implementation

 of a security system for cloud environments comprising a plurality of virtual cloud assets by

 putting potential cyber vulnerabilities in context without relying on agents or network scanners.

        (a)     Direct Infringement of the ’326 Patent

        219.    Wiz, without authorization, directly infringes one or more claims of the ’326 patent,

 literally and/or under the doctrine of equivalents. Wiz infringes under 35 U.S.C. § 271 including,

 without limitation, 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing

 within the United States without authority, Wiz’s CSP and other similar products or services,

 which includes (or is otherwise referred to) but is not limited to Wiz’s CNAPP, CSPM, CIEM,

 DSPM, IaC scanning, and CDR platforms and/or features. See https://www.wiz.io/; see also

 https://www.wiz.io/product. Wiz’s infringement includes infringement of, for example, claim 1

 of the ’326 patent.

        220.    Claim 1 of the ’326 patent recites:

                1.      A method for securing virtual cloud assets against cyber vulnerabilities in a

        cloud computing environment, the method comprising:

                        receiving a request to scan a plurality of protected virtual cloud assets in the

                cloud computing environment;


                                                  109
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 110 of 130 PageID #: 707




                        for each of the requested plurality of protected virtual cloud assets in the

                cloud computing environment:

                                determining, using an API or service provided by the cloud

                        computing environment, a location of a snapshot of at least one virtual disk

                        of a respective protected virtual cloud asset,

                                accessing, based on the determined location and using an API or

                        service provided by the cloud computing environment, the snapshot of the

                        at least one virtual disk,

                                analyzing the snapshot of the at least one virtual disk to determine

                        an existence of potential cyber vulnerabilities, and

                                determining a risk associated with each of the determined potential

                        cyber vulnerabilities, and

                        for each of the requested plurality of protected virtual cloud assets with the

                determined potential cyber vulnerabilities, determining a risk level to the cloud

                computing environment; and

                        reporting, for each of the requested plurality of protected virtual cloud assets

                with the determined potential cyber vulnerabilities, the existence of the potential

                cyber vulnerabilities, such that the plurality of protected virtual cloud assets with

                the determined potential cyber vulnerabilities are prioritized based on associated

                risk levels.

        221.    On information and belief, Wiz’s CSP satisfies each and every limitation of claim 1

 of the ’326 patent by and through the use of Wiz’s CSP and/or other similar products or services

 for Wiz’s clients or customers.




                                                     110
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 111 of 130 PageID #: 708




        222.    The preamble of claim 1 recites “[a] method for securing virtual cloud assets against

 cyber vulnerabilities in a cloud computing environment, the method comprising . . . .” To the

 extent the preamble is limiting, Wiz practices this step by, for example, using Wiz’s CSP to detect

 cyber vulnerabilities in cloud computing environments and secure virtual cloud assets within those

 environments against said vulnerabilities.        See, e.g., https://www.wiz.io/solutions/cnapp

 (advertising that Wiz “identif[ies] and remediate[s] risks and respond[s] to threats in [] cloud

 environments”);              https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-

 vulnerabilities-kev-with-wiz (“Detect and prioritize CISA Known Exploited Vulnerabilities in the

 cloud with Wiz”).

        223.    Claim 1 further recites “receiving a request to scan a plurality of protected virtual

 cloud assets in the cloud computing environment . . . .” Wiz’s public presentations and technical

 documentation confirm that Wiz practices this step by, for example, receiving requests to perform

 an “agentless scan” of “workloads” in an organization’s cloud computing environment.




                                                111
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 112 of 130 PageID #: 709




 See Exhibit 5 at 13; Exhibit 6 (supported cloud computing platforms include AWS, Azure, and

 GCP). Wiz states that in response to requests, Wiz “connects within minutes with zero impact on

 resource or workload performance” and “builds an inventory of every technology running in your

 cloud and delivers complete visibility into every layer of your cloud stack.” See

 https://www.datocms-assets.com/75231/1682034689-wiz-solution-brief-march-2023.pdf.

        224.     Claim 1 further recites “for each of the requested plurality of protected virtual cloud

 assets in the cloud computing environment: determining, using an API or service provided by the

 cloud computing environment, a location of a snapshot of at least one virtual disk of a respective

 protected virtual cloud asset . . . .” Wiz’s public presentations and technical documentation

 confirm that Wiz practices this step by, for example, using Wiz’s CSP to perform “agentless

 scanning via API” provided by AWS, GCP, and Azure, among other cloud computing

 environments.




 See Exhibit 5 at 13 (“Full visibility in minutes . . . without agents”); Exhibit 6 (supported cloud

 computing platforms include AWS, Azure, and GCP). Wiz’s technical documentation confirms



                                                  112
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 113 of 130 PageID #: 710




 that its agentless scanning includes “snapshot scanning” of virtual cloud assets, wherein Wiz’s

 CSP “takes a snapshot of each VM system volume and analyzes its operating system, application

 layer, and data layer statistically with no performance impact.” Exhibit 6 at 4, 2 (“Wiz scans all

 the resources and workloads in your cloud environment using a unique snapshot technology that

 covers more than an agent can.”); Exhibit 11 (“Wiz connects to your cloud environment via your

 cloud service provider’s APIs in order to extract metadata and perform snapshot scans.”);

 https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

 us/articles/5449816387100-AWS-Connector-Basics             (same);       Exhibit      12      (same);

 https://www.wiz.io/solutions/vulnerability-management (“Using a one-time cloud native API

 deployment, continuously assess workloads without deploying agents”).

         225.    Claim 1 further recites “accessing, based on the determined location and using an

 API or service provided by the cloud computing environment, the snapshot of the at least one

 virtual disk . . . .” Wiz performs this step by, for example, accessing the snapshot of a virtual disk

 in order to “analyze[] [the] operating system, application layer, and data layer” of virtual cloud

 assets. See Exhibit 6 at 4, 3 (Wiz “[s]cans the workloads inside the container to determine . . . its

 vulnerabilities”).   Wiz’s technical documentation explains that “Wiz connects to [a] cloud

 environment via [a] cloud service provider’s APIs in order to extract metadata and perform

 snapshot scans.” Exhibit 11;

 https://web.archive.org/web/20230609070637/https:/support.wiz.io/hc/en-

 us/articles/5449816387100-AWS-Connector-Basics (same); Exhibit 12 (same).

         226.    Claim 1 further recites “analyzing the snapshot of the at least one virtual disk to

 determine an existence of potential cyber vulnerabilities . . . .” Wiz practices this step by, for

 example, analyzing the snapshot of a virtual disk to determine cyber vulnerabilities affecting the




                                                  113
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 114 of 130 PageID #: 711




 virtual disk. Wiz employs “agentless scanning” to “identify [] toxic combinations” between

 applications installed on a virtual disk and known vulnerable applications in Wiz’s “vulnerability

 catalog consist[ing] of more than 70,000 supported vulnerabilities, across 30+ operating systems,

 CISA KEV catalog and thousands of applications.”




 https://www.wiz.io/solutions/vulnerability-management; see also https://www.wiz.io/blog/detect-

 and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz.

        227.     Claim 1 further recites “determining a risk associated with each of the determined

 potential cyber vulnerabilities . . . .” Wiz practices this step by, for example, identifying assets

 with “toxic combinations” and “finding the resources that pose the highest risk in [a] cloud

 environment.”




 https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-

 wiz.




                                                 114
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 115 of 130 PageID #: 712




 See id.




                                      115
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 116 of 130 PageID #: 713




 See also Exhibit 5 at 27. Wiz also states that it “[p]rioritize[s] risk and attack paths to critical

 assets” within the cloud computing environment.




 Id. at 17; see also Exhibit 6 at 3 (“Scan for vulnerable and unpatched operating systems, installed

 software,         and   code     libraries    in    your     workloads      prioritized    by     risk.”);

 https://www.wiz.io/solutions/cnapp (“ruthless risk prioritization”, “prioritize the most critical

 risks”);     https://www.wiz.io/solutions/vulnerability-management          (“Contextual     Risk-Based

 Prioritization Reduce alert fatigue by correlating vulnerabilities with multiple risk factors,

 including external exposure, cloud entitlements, secrets, misconfigurations, malware, and more,

 to surface the vulnerabilities that should be prioritized.”).

            228.    Claim 1 further recites “for each of the requested plurality of protected virtual cloud

 assets with the determined potential cyber vulnerabilities, determining a risk level to the cloud

 computing environment . . . .” Wiz performs this step by, for example, identifying assets with

 “toxic combinations” and “finding the resources that pose the highest risk in [a] cloud

 environment.”




                                                     116
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 117 of 130 PageID #: 714




 https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-

 wiz. Wiz also determines risk levels for resources with determined potential cyber vulnerabilities.




 See id.




                                                117
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 118 of 130 PageID #: 715




 See also Exhibit 5 at 27. Wiz also “[p]rioritize[s] risk and attack paths to critical assets” within

 the cloud computing environment.




 Id. at 17; see also Exhibit 6 at 3 (“Scan for vulnerable and unpatched operating systems, installed

 software, and code libraries in your workloads prioritized by risk.”).



                                                 118
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 119 of 130 PageID #: 716




         229.    Claim 1 further recites “reporting, for each of the requested plurality of protected

 virtual cloud assets with the determined potential cyber vulnerabilities, the existence of the

 potential cyber vulnerabilities, such that the plurality of protected virtual cloud assets with the

 determined potential cyber vulnerabilities are prioritized based on associated risk levels.” Wiz

 performs this step by, for example, “correlating vulnerabilities with multiple risk factors, including

 external exposure, cloud entitlements, secrets, misconfigurations, malware, and more, to surface

 the vulnerabilities that should be prioritized.”        https://www.wiz.io/solutions/vulnerability-

 management. Wiz reports the existence of virtual cloud assets with determined potential cyber

 vulnerabilities prioritized by risk levels.




 See      https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-

 with-wiz; see also Exhibit 6 at 3 (“Scan for vulnerable and unpatched operating systems, installed

 software, and code libraries in your workloads prioritized by risk.”).




                                                  119
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 120 of 130 PageID #: 717




 See https://www.wiz.io/solutions/cnapp; see also Exhibit 5 at 17, 27.

        230.    As described in the preceding paragraphs, Wiz infringes claim 1 of the ’326 patent

 either literally or under the doctrine of equivalents.

        231.    The above examples of how Wiz directly infringes claim 1 of the ’326 patent are

 non-limiting and based on information currently available to Orca. In particular, additional or

 different aspects of Wiz’s products or services may be identified that meet the limitations of

 claim 1 of the ’326 patent, additional claims of the ’326 patent may be determined to be infringed,

 and additional Wiz products or services may be identified as infringing once additional nonpublic

 information is provided through the course of discovery.

        (b)     Induced Infringement of the ’326 Patent

        232.    On information and belief, in providing Wiz’s CSP to its customers, Wiz has

 included, and continues to induce, direct infringement of one or more claims of the ’326 patent,

 including at least claim 1, literally and/or under the doctrine of equivalents pursuant to 35 U.S.C.

 § 271(b).

        233.    On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

 the ’326 patent and its infringement thereof when the ’326 patent issued or soon thereafter at least

 as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed




                                                  120
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 121 of 130 PageID #: 718




 above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

 knowledge of the ’326 patent’s parent application, U.S. Patent Application No. 16/585,967 and its

 provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

 prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

 described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

 descriptions as those found in the ’326 patent, and, on information and belief, these figures in

 Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

 September 12, 2023, Orca notified Wiz of its infringement of the allowed U.S. Patent Application

 No. 18/055,181 (which is the application for the ’326 patent) through a cease-and-desist letter,

 attached hereto as Exhibit 10. The claims of the allowed application referenced in the cease-and-

 desist letter did not change when the patent issued. Accordingly, Wiz has had knowledge of the

 ’326 patent and its claims since at least September 12, 2023. In any event, Wiz has had knowledge

 of the ’326 patent and its infringement thereof since at least as early as the filing of this Second

 Amended Complaint.

        234.    On information and belief, Wiz possesses a specific intent to induce infringement

 by, at a minimum, providing user guides, instructions, sales-related material, and/or other

 supporting documentation, and by way of advertising, solicitation, and provision of product

 instruction materials, that instruct its customers on the normal operation of Wiz’s CSP in a manner

 that infringes one or more claims of the ’326 patent, including at least claim 1 of the ’326 patent,

 or, in the alternative, Wiz believed there was a high probability that the acts of its customers would

 infringe one or more claims of the ’326 patent, including at least claim 1, and took deliberate steps

 to avoid learning of that infringement.




                                                  121
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 122 of 130 PageID #: 719




         235.    Wiz’s specific intent to induce infringement is also demonstrated by its actions

 since receiving the cease-and-desist letter on September 12, 2023. As of October 10, 2023, despite

 the disclosure of its infringement in the cease-and-desist letter, Wiz still maintains many of the

 same pages on its website identified in Appendix H to the cease-and-desist letter instructing its

 customers and potential customers on how the Wiz CSP can be used to infringe U.S. Patent

 Application No. 18/055,181 (including at least claim 1 of the ’326 patent). See, e.g. Exhibit 10 at

 Appendix H; https://www.wiz.io/ (last accessed Oct. 10, 2023); https://www.wiz.io/product (last

 accessed Oct. 10, 2023); https://www.wiz.io/solutions/cnapp (last accessed Oct. 10, 2023);

 https://www.wiz.io/blog/detect-and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz

 (last accessed Oct. 10, 2023); https://www.wiz.io/solutions/vulnerability-management (last

 accessed Oct. 10, 2023).

         236.    Also, Wiz’s specific intent to induce is demonstrated by its public instructions and

 other documentation. For example, in a video titled “Wiz for Vulnerability Management,” posted

 by Wiz on August 11, 2023, Wiz specifically instructs users on how to use Wiz’s platform to

 perform “agentless vulnerability scanning across every layer of your cloud environment,” identify

 “the threats you need to pay attention to right now . . . and what resources are at risk,” and “generate

 a vulnerability report” in a manner specifically intended to infringe at least claim 1 of the ’326

 patent. See, e.g., https://www.youtube.com/watch?v=GP0NWZa_7vk at 0:05, 1:50, 2:00 (“Wiz

 for Vulnerability Management Demo” (Aug. 11, 2023)) (last accessed Oct. 10, 2023); see also

 https://www.youtube.com/watch?v=a8l9zIQUoVI (“Wiz for CSPM Demo” (Aug. 11, 2023)) (last

 accessed Oct. 10, 2023).

         237.    In addition, after receiving the cease-and-desist letter, Wiz published an article on

 September 28, 2023 specifically instructing users how Wiz “can help organizations to identify,




                                                   122
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 123 of 130 PageID #: 720




 prioritize, and remediate vulnerabilities across their cloud environments quickly and effectively

 with the following capabilities,” including through “[a]gentless scanning,” “[c]ontinuous

 scanning,” “[d]eep contextual assessments,” and “[r]isk-based prioritization” in a manner intended

 to infringe at least claim 1 of the ’326 patent. See, e.g., https://www.wiz.io/academy/vulnerability-

 management-best-practices (Sept. 28, 2023) (last accessed Oct. 10, 2023); see also

 https://www.wiz.io/academy/cloud-security-best-practices (Sept. 20, 2023) (last accessed Oct. 10,

 2023).

          (c)    Contributory Infringement of the ’326 Patent

          238.   On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

 the ’326 patent and its infringement thereof when the ’326 patent issued or soon thereafter at least

 as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

 above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

 knowledge of the ’326 patent’s parent application, U.S. Patent Application No. 16/585,967 and its

 provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

 prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

 described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

 descriptions as those found in the ’326 patent, and, on information and belief, these figures in

 Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

 September 12, 2023, Orca notified Wiz of its infringement of the allowed U.S. Patent Application

 No. 18/055,181 (which is the application for the ’326 patent) through a cease-and-desist letter,

 attached hereto as Exhibit 10. The claims of the allowed application referenced in the cease-and-

 desist letter did not change when the patent issued. In any event, Wiz has had knowledge of the

 ’326 patent and its infringement thereof since at least as early as the filing of this Second Amended

 Complaint.


                                                  123
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 124 of 130 PageID #: 721




        239.    By providing Wiz’s CSP to its customers, Wiz has in the past contributed, and

 continues to contribute, to the direct infringement of one or more claims of the ’326 patent, literally

 and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 271(c), including at least

 claim 1 of the ’326 patent. Wiz has contributorily infringed and continues to contribute to the

 infringement of one or more claims of the ’326 patent by offering to sell or selling Wiz’s CSP

 which is a patented component, constituting a material part of the invention, knowing the same to

 be especially made or especially adapted for use in an infringement and not a staple article or

 commodity of commerce suitable for substantial non-infringing use.

        240.    Wiz’s CSP, or any further component parts thereof, is not a staple article of

 commerce and has no substantial non-infringing use. On information and belief, Wiz’s CSP

 cannot operate without incorporating technology claimed by the claims of the ’326 patent.

 Specifically, as described above, Wiz’s user guides, instructions, sales-related material, and/or

 other supporting documentation state that Wiz’s CSP is intended to be used to receive a request to

 scan virtual cloud assets in a cloud computing environment through agentless scanning using an

 API provided by the cloud environment, locate and access a snapshot of a virtual disk to analyze

 the snapshot for potential vulnerabilities, determine a risk level of the potential vulnerabilities and

 of the virtual cloud assets with the potential vulnerabilities, and to report the potential

 vulnerabilities prioritized based on their risk levels, as claimed in the claims of the ’326 patent.

 See, e.g., Exhibit 4 at 1-2; Exhibit 5 at 11-23; Exhibit 6. Its documentation does not advertise or

 otherwise suggest that Wiz’s CSP is a staple article of commerce or has a substantial non-

 infringing use. See generally Exhibit 5; Exhibit 6. Furthermore, when used as shown in Wiz’s

 documentation, Wiz’s CSP directly infringes claims of the ’326 patent as described above in

 Paragraphs 219-231.




                                                  124
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 125 of 130 PageID #: 722




        241.    On information and belief, Wiz has continued to contributorily infringe in the same

 way as set forth in the preceding paragraphs since receiving the cease-and-desist letter on

 September 12, 2023. As of October 10, 2023, despite the disclosure of its infringement in the

 cease-and-desist letter, Wiz still maintains many of the same pages on its website identified in

 Appendix H to the cease-and-desist letter describing Wiz’s infringement of U.S. Patent

 Application No. 18/055,181 (including at least claim 1 of the ’326 patent) and referenced herein.

 See, e.g., Exhibit 10 at Appendix H; https://www.wiz.io/ (last accessed Oct. 10, 2023);

 https://www.wiz.io/product (last accessed Oct. 10, 2023); https://www.wiz.io/solutions/cnapp

 (last accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-and-prioritize-cisa-known-

 exploited-vulnerabilities-kev-with-wiz         (last      accessed        Oct.        10,       2023);

 https://www.wiz.io/solutions/vulnerability-management (last accessed Oct. 10, 2023).

        (d)     Willful Infringement of the ’326 Patent

        242.    On information and belief, Wiz monitors Orca’s patent portfolio and was aware of

 the ’326 patent and its infringement thereof when the ’326 patent issued or soon thereafter at least

 as a result of its collective pattern of efforts to copy Orca’s technology and its patents as discussed

 above in Paragraphs 13-29. Additionally, Wiz by and through its patent prosecution counsel had

 knowledge of the ’326 patent’s parent application, U.S. Patent Application No. 16/585,967 and its

 provisional application, U.S. Provisional Application No. 62/797,718, because Wiz’s patent

 prosecution counsel is the same lawyer that filed those applications on behalf of Orca. As

 described above in Paragraph 23, Wiz’s patents also include nearly identical figures and

 descriptions as those found in the ’326 patent, and, on information and belief, these figures in

 Wiz’s patents were copied from Orca’s patents and/or patent applications. Furthermore, on

 September 12, 2023, Orca notified Wiz of its infringement of the allowed U.S. Patent Application

 No. 18/055,181 (which is the application for the ’326 patent) through a cease-and-desist letter,


                                                  125
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 126 of 130 PageID #: 723




 attached hereto as Exhibit 10. The claims of the allowed application referenced in the cease-and-

 desist letter did not change when the patent issued. Accordingly, Wiz has had knowledge of the

 ’326 patent and its claims since at least September 12, 2023. In any event, Wiz has had knowledge

 of the ’326 patent and its infringement thereof since at least as early as the filing of this Second

 Amended Complaint.

        243.     Wiz’s intentional and deliberate infringement is also demonstrated by its actions

 since receiving the cease-and-desist letter on September 12, 2023, which show a continuing

 willful, deliberate, and consciously wrongful intent to infringe the ’326 patent. As of October 10,

 2023, despite the disclosure of its infringement in the cease-and-desist letter, Wiz still maintains

 many of the same pages on its website identified in Appendix H to the cease-and-desist letter

 describing Wiz’s infringement of U.S. Patent Application No. 18/055,181 (including at least

 claim 1 of the ’326 patent). See, e.g., Exhibit 10 at Appendix H; https://www.wiz.io/ (last accessed

 Oct. 10,      2023);   https://www.wiz.io/product      (last    accessed     Oct.    10,     2023);

 https://www.wiz.io/solutions/cnapp (last accessed Oct. 10, 2023); https://www.wiz.io/blog/detect-

 and-prioritize-cisa-known-exploited-vulnerabilities-kev-with-wiz (last accessed Oct. 10, 2023);

 https://www.wiz.io/solutions/vulnerability-management (last accessed Oct. 10, 2023).

        244.      Wiz also published an article on September 28, 2023, describing how Wiz

 continues to use its Wiz CSP to “identify, prioritize, and remediate vulnerabilities across their

 cloud environments quickly and effectively with the following capabilities,” including through

 “[a]gentless scanning,” “[c]ontinuous scanning,” “[d]eep contextual assessments,” and “[r]isk-

 based prioritization” in a manner that demonstrates a conscious disregard for Orca’s rights in the

 inventions claimed in the ’326 patent.      See, e.g., https://www.wiz.io/academy/vulnerability-

 management-best-practices (Sept. 28, 2023) (last accessed Oct. 10, 2023); see also




                                                 126
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 127 of 130 PageID #: 724




 https://www.wiz.io/academy/cloud-security-best-practices (Sept. 20, 2023) (last accessed Oct. 10,

 2023).

          245.   Wiz’s infringement has been and continues to be intentional and deliberate,

 entitling Orca to enhanced damages under 35 U.S.C. § 284 and a finding that this case is

 exceptional, entitling Orca to an award of reasonable attorneys’ fees under 35 U.S.C. § 285.

          246.   On information and belief, Wiz has profited from and will continue to profit from

 its infringing activities. Orca has been and will continue to be damaged and irreparably harmed

 by Wiz’s infringing activities. As a result, Orca is entitled to injunctive relief and damages

 adequate to compensate it for such infringement, in no event less than a reasonable royalty, in

 accordance with 35 U.S.C. §§ 271, 281, 283, and 284. The full amount of monetary damages Wiz’s

 acts of infringement have caused to Orca cannot be determined without an accounting.

          247.   The harm to Orca from Wiz’s ongoing infringing activity is irreparable, continuing,

 and not fully compensable by money damages, and will continue unless Wiz’s infringing activities

 are enjoined.

                                     PRAYER FOR RELIEF

          WHEREFORE, Orca respectfully asks that the Court enter judgment against Wiz and in

 favor of Orca as follows:

          248.   A judgment that Wiz has infringed and continues to infringe (either literally or

 under the doctrine of equivalents) one or more claims of the Asserted Patents under at least

 35 U.S.C. § 271(a);

          249.   A judgment that Wiz has induced and continues to induce others to infringe one or

 more claims of the Asserted Patents under at least 35 U.S.C. § 271(b);

          250.   A judgment that Wiz has contributorily infringed and continues to contribute to the

 infringement of one or more claims of the Asserted Patents under at least 35 U.S.C. § 271(c);


                                                 127
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 128 of 130 PageID #: 725




         251.     A judgment that Wiz’s infringement of the Asserted Patents has been and continues

 to be willful;

         252.     An award of monetary damages sufficient to compensate Orca for Wiz’s patent

 infringement, with interest, pursuant to at least 35 U.S.C. § 284;

         253.     A preliminary and permanent injunction prohibiting Wiz and its officers, agents,

 representatives, assigns, licenses, distributors, servants, employees, related entities, attorneys, and

 all those acting in concert, privity, or participation with them, from:

                  A.      infringing or inducing the infringement of any claim of the Asserted Patents;

                          and

                  B.      soliciting any new business or new customers using any information or

                          materials that Wiz derived from its infringement of the Asserted Patents;

         254.     An award of enhanced damages of three times the amount found or assessed for

 Wiz’s willful patent infringement, pursuant to at least 35 U.S.C. § 284, including interest on such

 damages;

         255.     An order finding this case exceptional and awarding Orca its attorneys’ fees, to be

 obtained from any and all of Wiz’s assets, pursuant to 35 U.S.C. § 285, including prejudgment

 interest on such fees;

         256.     An accounting and supplemental damages for all damages occurring after the

 period for which discovery is taken, and after discovery closes, through the Court’s decision

 regarding the imposition of a permanent injunction;

         257.     An award of Orca’s costs and expenses of this suit as the prevailing party; and

         258.     Any and all other relief that the Court deems just and proper.

                                           JURY DEMAND

         Orca hereby demands a trial by jury on all issues so triable.


                                                   128
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 129 of 130 PageID #: 726




                                            MORRIS, NICHOLS, ARSHT &TUNNELL LLP

                                            /s/ Rodger D. Smith II
                                            ___________________________________
 OF COUNSEL:                                Jack B. Blumenfeld (#1014)
                                            Rodger D. Smith II (#3778)
 Douglas E. Lumish                          1201 North Market Street
 Lucas Lonergan                             P.O. Box 1347
 LATHAM & WATKINS LLP                       Wilmington, DE 19899-1347
 140 Scott Drive                            (302) 658-9200
 Menlo Park, CA 94025                       jblumenfeld@morrisnichols.com
 (650) 328-4600                             rsmith@morrisnichols.com

 Blake R. Davis                             Attorneys for Plaintiff Orca Security Ltd.
 LATHAM & WATKINS LLP
 505 Montgomery Street, Suite 2000
 San Francisco, CA 94111
 (415) 391-0600

 October 10, 2023




                                      129
Case 1:23-cv-00758-GBW Document 15 Filed 10/10/23 Page 130 of 130 PageID #: 727




                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 10, 2023, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on October 10,

 2023, upon the following in the manner indicated:

 Frederick L. Cottrell, III, Esquire                                     VIA ELECTRONIC MAIL
 Kelly E. Farnan, Esquire
 Christine D. Haynes, Esquire
 RICHARD, LAYTON & FINGER, P.A.
 One Rodney Square
 920 North King Street
 Wilmington, DE 19801
 Attorneys for Defendant



                                              /s/ Rodger D. Smith II
                                              _______________________________
                                              Rodger D. Smith II (#3778)
